Case 5:15-cv-06264-EGS Document 64-16 Filed 11/17/17 Page 1 of 105




                    Exhibit K
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 1
                                                            Page
                                                              of 104
                                                                  2 ofPageID:
                                                                       105    1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 [UNDER SEAL],

               Plaintiffs,                   Case No.

                                             FILED IN CAMERA & UNDER SEAL
 v.                                          PURSUANT TO 31 U.S.C. §3730(b)(2)

 [UNDER SEAL],                               CIVIL ACTION

               Defendants.                   JURY TRIAL DEMANDED


                                             DO NOT ENTER INTO PACER
                                             DO NOT PLACE IN PRESS BOX

                             COMPLAINT FILED UNDER SEAL
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 2
                                                            Page
                                                              of 104
                                                                  3 ofPageID:
                                                                       105    2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  UNITED ST ATES OF AMERICA; THE
  COMMONWEALTHS OF
  MASSACHUSETTS AND VIRGINIA,                           Case No. - - - - - - -
  THE STATES OF CALIFORNIA,
  COLORADO, CONNECTICUT,                                FILED IN CAMERA & UNDER SEAL
  DELAWARE, FLORIDA, GEORGIA,                           PURSUANT TO 31 U.S.C. §3730(b)(2)
  HA WAii, ILLINOIS, INDIANA, IOWA,
  LOUISIANA, MARYLAND,                                  CIVIL ACTION
  MICHIGAN, MINNESOTA,
  MONTANA, NEV ADA, NEW                                 JURY TRIAL DEMANDED
  HAMPSHIRE, NEW JERSEY, NEW
  MEXICO, NEW YORK, NORTH
  CAROLINA, OKLAHOMA, RHODE                             DO NOT ENTER INTO PACER
  ISLAND, TENNESSEE, TEXAS,                             DO NOT PLACE IN PRESS BOX
  WASHINGTON, WISCONSIN, THE
  DISTRICT OF COLUMBIA, THE
  CITIES OF CHICAGO AND NEW
  YORK, ex rel.,

  JOHN DOE I AND JOHN DOE II,

                         Relators,

  v.

  BOSTON SCIENTIFIC
  CORPORATION, MEDTRONIC, INC.,
  ST. JUDE MEDICAL, INC., AND
  BIOTRONIK, INC.

                         Defendants.




        1.      Plaintiffs-Relators, John Doe I ("Relator I") and John Doe II ("Relator

 II")(collectively referred to as "Relators"), by their undersigned attorneys, on behalf of the

 United States of America ("United States"), and Commonwealths of Massachusetts and Virginia,

 the States of California, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Illinois,

 Indiana, Iowa, Louisiana, Maryland, Minnesota, Michigan, Montana, Nevada, New Hampshire,
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 3
                                                            Page
                                                              of 104
                                                                  4 ofPageID:
                                                                       105    3




New Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee,

Texas, Washington, Wisconsin, the District of Columbia, the Cities of Chicago and New York

(collectively, ''the States and Cities") bring this Complaint for damages under the Federal False

Claims Act and corresponding state and city False Claims Acts against Defendants Boston

Scientific Corporation, Medtronic, Inc., St. Jude Medical, Inc. and Biotronik, Inc. and allege,

upon information and belief, as follows:

                                PRELIMINARY STATEMENT

       2.      This case is brought pursuant to the qui tam provisions of the Federal False

Claims Act, 31 U.S.C. § 3279 et seq. (the "FCA"), the Federal Anti-Kickback Statute, 42 U.S.C.

§ 1320a-7b(b) and the Stark Law, 42 U.S.C. § 1395nn et seq. and pursuant to analogous

provisions of state and local law.

       3.      This case arises from a nationwide, fraudulent scheme by the largest, and

most profitable, medical device manufacturers in the world - Boston Scientific, Medtronic,

St. Jude, Biotronik - to cause doctors to overbill for certain services reimbursed by federal

and state healthcare programs that were rendered in connection with the required

monitoring of patients with implantable pacemakers/defibrillators, known as Cardiac

Implantable Electronic Devices ("CIEDs"), causing the submission of false claims. As set

forth more fully below, for several decades through the present, Defendants systematically

engaged in a kickback scheme to provide doctors with free technical services in connection with

the necessary health monitoring of cardiac patients with CIEDs in exchange for their

commitment to recommend use of their products and continued business. Only recently have

some Defendants made shoddy attempts to camouflage and attenuate their practices, which

remain ongoing. Unfortunately, these subsequent remedial measures are not only insufficient,



                                                 2
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 4
                                                            Page
                                                              of 104
                                                                  5 ofPageID:
                                                                       105    4




 but have been done in an effort to disguise the years of fraud committed and still being

 committed by Defendants.

        4.      Defendants also systematically paid and continue to pay doctors exorbitant

 speaker and consulting fees, subsidize fellowship grants at "high volume" institutions, and

 provide research stipends for, many times, what is considered to be, sham research. These

 payments to doctors are kickbacks to induce them to use their respective products.

        5.      The Defendants' deep and pervasive financial inducements taint patient referrals

 based on their financial incentives and the on-going financial relationship between the

 manufacturers and the cardiologists, cardiology groups and/or hospitals. Defendants'

 inducements also run the risk of impacting doctors' judgment as to obtaining the best cardiac

 product for a patient's particular malady.

        6.      Defendants continue to knowingly and willingly participate in this fraudulent

 scheme and collusion-type behavior to prevent their loss of market share. Any manufacturer

who runs afoul and fails to participate in this unescapable fraud will run the risk of losing a high

volume of business since the majority of products are technically equivalent.

        7.      Through this fraudulent scheme, Defendants knowingly caused the submission of

thousands of false claims for payment to federal and state health care programs, including

Medicare, Medicaid, TRICARE, and the Veterans Administration health care program.

Accordingly, Defendants are liable under the FCA and respective state FCAs for treble damages

and penalties for the claims for reimbursement for the technical component of monitoring

patients implanted with their product This action arises under, inter alia, the United States Civil

False Claims Act, 31 U.S.C. § 3729 et seq.




                                                  3
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 5
                                                            Page
                                                              of 104
                                                                  6 ofPageID:
                                                                       105    5




                                      JURISDICTION AND VENUE

         8.      The Court has subject-matter jurisdiction pursuant to 31 U.S.C. § 3732(a) and 28

 U .S.C. § 1331, and has personal jurisdiction over the Defendants because the Defendants does

 business in this District.

         9.      Venue lies under 28 U.S.C. § 139l(b), (c) and 31 U.S.C. § 3732(a) because

 Defendants operate and transact business within this district and seminal events forming the

 basis of this Complaint occurred in this district.

                                               PARTIES

         10.     The real party in interest to the claims set forth herein is the United States of

America.

         11.     Re lator I is a resident of the State of New Jersey and a citizen of the United

 States. Relator I is a board certified and experienced cardiologist.

         12.     Relator II is a resident of the State of New Jersey and a citizen of the United

 States. Relator II is a board certified and experienced cardiologist.

         13.     As further discussed in paragraphs below, Relators are each an original source of

the information upon which this Complaint is based, as that phrase is used in the FCA and other

 laws at issue herein.

         14.     Relators have direct and independent knowledge on which the allegations herein

are based and have voluntarily provided this information to the United States prior to filing this

action. Relators have personally observed Defendants' practices and have been privy to

meetings, conversations, and other communications. In the regular course of their clinical

cardiology practice, the Relators have gained knowledge regarding the workings of the

Defendants.



                                                      4
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 6
                                                            Page
                                                              of 104
                                                                  7 ofPageID:
                                                                       105    6




        15.      Relators have provided I are providing to the United States Attorney and States'

Attorneys' General a full disclosure of substantially all material facts supporting this Complaint,

as required by the FCA, 31 § 3730(b )(2), and relevant state statutes.

        16.      Defendant Boston Scientific Corporation ("Boston Scientific") is a Delaware

corporation with its principal place of business at 300 Boston Scientific Way, Marlborough, MA

01752-1234.

        17.     Defendant Medtronic, Inc. ("Medtronic") is a Minnesota corporation with its

principal place of business at 710 Medtronic Parkway, Minneapolis, Minnesota.

        18.      St. Jude Medical, Inc. ("St. Jude") is a Minnesota corporation with a principal

place of business at One St. Jude Medical Drive, St. Paul, MN 55117. St. Jude operates its

cardiac medical device unit through its St. Jude Cardiovascular Division.

        19.     Defendant Biotronik, Inc. ("Biotronik") is, upon information and belief, an

Oregon Corporation with a principal place of business located at 6024 Jean Rd., Lake Oswego,

OR 97035.

        20.     The Defendants are the four leading cardiac device manufacturers in the United

States and all participate in the fraudulent scheme detailed herein.

                                     FACTUAL ALLEGATIONS

I.      The Anti-Kickback Statute and the False Claims Act

        21.     The FCA establishes liability to the United States for an individual who, or entity

that, "knowingly presents, or causes to be presented, a false or fraudulent claim for payment or

approval," § 3729(a)(l)(A); or "knowingly makes, uses, or causes to be made or used, a false

record or statement material to a false or fraudulent claim," § 3729(a)(l )(B). 1 "Knowingly" is


1
  In May 2009, the False Claims Act was amended pursuant to Public Law 111-21, the Fraud Enforcement and
Recovery Act of2009 ("FERA"). Section 3729(a)(l)(B) was formerly Section 3729(a)(2), and is applicable to

                                                      5
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 7
                                                            Page
                                                              of 104
                                                                  8 ofPageID:
                                                                       105    7




defined to include actual knowledge, reckless disregard and deliberate indifference. §

 3729(b)(l). No proof of specific intent to defraud is required. Id.

        22.      The AKS make:; it illegal for individuals or entities to knowingly and willfully

 "offer[] or pay[] remuneration (including any kickback, bribe, or rebate) ... to any person to

 induce such person ... to purchase, ... order, ... or recommend purchasing ... or ordering any

 good ... or item for which payment may be made in whole or in part under a Federal health care

 program." 42 U.S.C. § 1320a-7b(b)(2). Providing free services that are later reimbursed by

federal and state health care programs, as well as providing other payments to doctors to induce

them to recommend their respective company's products that are reimbursed by federal and state

health care programs are examples of such illegal remuneration. Violation of the AKS is a

felony punishable by fines and imprisonment and can also result in exclusion from participation

 in federal health care programs. 42 U.S.C. § 1320a-7b(b)(2) and 42 U.S.C. § 1320a-7(b)(7).

        23.      The AKS arose out of congressional concern that remuneration given to those

who can influence health care decisions would result in goods and services being provided that

are medically unnecessary, of poor quality, or even harmful to a vulnerable patient population.

To protect the Medicare and Medicaid programs, among other federal health care programs,

from these harms, Congress enacted a prohibition against the payment of kickbacks in any form.

First enacted in 1972, Congress strengthened the statute in 1977 and 1987 to ensure that



Defendants' conduct for the entire time period alleged in the Complaint by virtue of Section 4(t) of FERA. Section
3279(a)(l)(A), formerly Section 3729(a)(l), of the FCA prior to FERA, and as amended in 1986, applies to conduct
on or after May 20, 2009. Section 3729 of the pre-FERA FCA provides, in pertinent part, that:

                 (a)      Any person who (1) knowingly presents, or causes to be presented, to an officer or
                          employee of the United States Government or a member of the Armed Forces of the
                          United States a false or fraudulent claim for payment or approval ...
                          ***
                          is liable to the United States Government for a civil penalty of not less than $5,000 and
                          not more than $I 0,000, plus 3 times the amount of damages which the Government
                          sustains because of the act of that person ....

                                                         6
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 8
                                                            Page
                                                              of 104
                                                                  9 ofPageID:
                                                                       105    8




kickbacks masquerading as legitimate transactions did not evade its reach. See Social Security

Amendments of 1972, Publ. L No. 92-603, §§ 242(b) and (c); 42 U.S.C. § 1320a-7b, Medicare-

Medicaid Anti fraud and Abuse Amendments, Publ. L. No.       95-~42;   Medicare and Medicaid

Patient Program Protection Act of 1987, Pub. L. No. 100-93.

       24.     As codified in the Patient Protection and Affordable Care Act of 2010

("PPACA"), Pub. L. No. 111-148, § 6402(f), 124 Stat. 119, codified at 42 U.S.C. § 1320a-7b(g),

"a claim that includes items or services resulting from a violation of this section constitutes a

false or fraudulent claim for purposes of [the FCA]."

       25.     According to the legislative history of the PP A CA, this amendment to the AKS

was intended to clarify "that all claims resulting from illegal kickbacks are considered false

claims for the purpose of civil actions under the False Claims Act, even when the claims are not

submitted directly by the wrongdoers themselves." 155 Cong. Rec. S 10854.

       26.     Compliance with the AKS, 42 U.S.C. § 1320a-7b(b), is a condition of payment

under the federal health care programs.

       27.     By providing kickbacks to physicians to induce them to prescribe certain

Defendant CIEDs, Defendants have caused false claims to be submitted to federal health care

programs.

      28.      Similar requirements and penalties exist under the named State FCA's when

illegal kickbacks cause false claims to be submitted to state health care programs.

      29.      Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, as

amended by the Debt Collection Improvement Act of 1996, 28 U .S .C. § 2461 (notes), and 64

Fed. Reg. 47099, 47103 (1999), the FCA civil penalties are $5,500 to $11,000 for violations,

such as those alleged here, occurring on or after September 29, 1999.



                                                  7
Case
   Case
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                           Document164-16
                                      Filed Filed
                                            12/29/14
                                                  11/17/17
                                                       PagePage
                                                           9 of 104
                                                                 10 of
                                                                    PageID:
                                                                       105 9




II.     The Stark Law - The Medicare/Medicaid Self-Referral Statute

        30.     The Physician Self-Referral Statute, 42 U.S.C. § 1395nn et seq., known as the

"Stark" law, prohibits the referral of Medicare and Medicaid beneficiaries by a physician to an

entity for the provision of "designated health services" if the physician, or the physician's

immediate family member, has a financial relationship with the entity, unless a statutory

exception applies to that financial relationship.

        31.     The Stark law may be triggered when (i) a physician, who has a financial

relationship with a medical device company, (ii) recommends inpatient and outpatient hospital

services (which is considered a "designated health service" under Stark) that (iii) is paid for by a

federally funded program (e.g., Medicare). The Stark law prohibits an entity (i.e. Defendants)

from presenting or causing to be presented claims to Medicare (or billing another individual,

entity, or third party payor) for those referred services.

        32.    As described more fully below, Defendants, through paid consulting fees, paid

fellowships, and other financial arrangements, made payments to physicians in positions to

recommend, endorse or use their products, which were reimbursed by federally funded health

care programs, resulting in violations of the Stark law.

        33.    Upon information and belief, the consulting services paid for by Defendants far

exceeded those that are reasonable and necessary for the purported legitimate business purposes

of said arrangements. The payments made by Defendants far surpassed fair market value for

those services rendered.

       34.     The physician paid personal service "arrangements," described more fully below

do not fall within a Stark law exception.




                                                    8
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 10
                                                             Page
                                                               of 104
                                                                   11 of
                                                                      PageID:
                                                                         105 10




         35.     These paid financial relationships created by Defendants disguised as consulting

  fees, research stipends and fellowships, created serious conflicts of interests for physicians who,

  because of these payments, became "loyal" to certain companies.

  III.   The Federal Health Care Programs

         36.     At issue in this case is reimbursement for the "technical component" of

  monitoring patients with CIEDs. Almost always, monitoring of cardiac patients after a CIED has

  been implanted is performed by a non-invasive cardiologist or Electrophysiologist. The doctor

 then submits the claim for payment to the federal health care program(s) for reimbursement.

         37.     Medicare. Medicare is a federal program that provides federally subsidized health

  insurance primarily for persons who are 65 or older or disabled. See 42 U.S.C. §§ 1395 et seq.

 ("Medicare Program"). Medicare Part A pays for, among other things, the cost of inpatient

  hospital care. Medicare Part B covers medically necessary services and supplies needed for the

 diagnosis or treatment of your health condition. This includes outpatient services received at a

 hospital, doctor's office, clinic, or other health facility. Together, Medicare Part A and Part Bare

 known as Original Medicare.

         38.     Medicare enters into provider agreements with physicians and hospitals to

 establish their eligibility to participate in the program. To be eligible for payment under the

 program physicians must certify that they agree to comply with the Anti-Kickback Statute,

 among other federal health care laws.

         39.     On the Medicare provider enrollment agreement, the "Certification Statement"

 that the medical provider signs states: "You MUST sign and date the certification statement

 below in order to be enrolled in the Medicare program. In doing so, you are attesting to meeting

 and maintaining the Medicare requirements stated below." Those requirements include:



                                                   9
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 11
                                                             Page
                                                               of 104
                                                                   12 of
                                                                      PageID:
                                                                         105 11




                   I agree to abide by the Medicare laws, regulations and program instructions that
                   apply to me ... The Medicare laws, regulations and program instructions are
                   available through the fee-for-service contractor. I understand that payment of a
                   claim by Medicare is conditioned upon the claim and the underlying transaction
    1:   1         complying with suchJaws, regulations, and program instructions (including, but
                   not limited to, the Federal anti-kickback statute and the Stark law), and on the
                   supplier's eompliance with all applicable conditions of participation in Medicare.


                   *****
                   I will not knowingly present or cause to be presented a false or fraudulent claim
                   for payment by Medicare, and will not submit claims with deliberate ignorance or
                   reckless disregard of their truth or falsity.


  CMS Form 8551.

             40.   Medicare Enrollment Application forms also warn of the penalties involved for

 falsifying information on the application form, including penalties enumerated under 18 U .S.C. §

  1001, § l 128B(a)(l) of the Social Security Act, the Civil False Claims Act, 31 U.S.C. § 3729, §

  l 128A(a)(l) of the Social Security Act, 18 U.S.C. § 1035, and 18 U.S.C. 1347.

             41.   In addition, when medical devices are reimbursed under Medicare, sponsors must

 certify in their contracts with CMS that they agree to comply with all federal laws and

 regulations designed to prevent fraud, waste, and abuse, including, but not limited to, the Anti-

  Kickback Statute.

             42.   Medicaid. Medicaid is a joint federal-state program created in 1965 that provides

 health care benefits for certain groups, primarily the poor and disabled. The federal portion of

 each state's Medicaid payments, known as the Federal Medical Assistance Percentage

 ("FMAP"), is based on the state's per capita income compared to the national average. 42 U.S.C.

  § 1396d(b). Among the states, the FMAP is at least 50 percent and is as high as 83 percent.




                                                    10
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 12
                                                             Page
                                                               of 104
                                                                   13 of
                                                                      PageID:
                                                                         105 12




           43.   The Medicaid programs of all states reimburse for medical devices used during

 covered medical procedures. The vast majority of states award contracts to private companies to

 evaluate and process.c.\aims. for payment on behalf of Medicaid recipients.· Typically, after

 processing the daims, these private companies then generate funding requests to the state             l,.




  Medicaid programs. Before the beginning of each calendar quarter, each state submits to CMS

 an estimate of its Medicaid federal funding needs for the quarter. CMS reviews and adjusts the

 quarterly estimate as necessary, and determines the amount of federal funding each state will be

 permitted to draw down as it incurs expenditures during the quarter. The state then draws down

 federal funding as actual provider claims. After the end of each quarter, the state then submits to

 CMS a final expenditure report, which provides the basis for adjustment to the quarterly federal

 funding amount (to reconcile the estimated expenditures to actual expenditures). 42 C.F.R. §

 430.30.

           44.   Claims arising from illegal kickbacks are not authorized to be paid under state

 regulatory regimes.

           45.   Certifications that physicians supply to the States for Medicaid reimbursement

 include compliance with the Anti-Kickback Statute, among other federal health care laws.

           46.   A provider who participates in the Medicaid program must sign an agreement

 with his or her state that certifies compliance with the state and federal Medicaid requirements,

 including the AKS. Although there are variations among the states, the agreement typically

 requires the prospective Medicaid provider to agree that he or she will comply with all state and

 federal laws and Medicaid regulations in billing the state Medicaid program for services or

 supplies furnished.




                                                  11
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 13
                                                             Page
                                                               of 104
                                                                   14 of
                                                                      PageID:
                                                                         105 13




         47.     TR/CARE. TRICARE, administered by the Department of Defense ("DOD"), is

  the United States military's health care system, designed to maintain the health of active duty

 service personnel, provide health care during military operations, arid offer health care to non-      .. , .. ,

 . active duty beneficiaries, including dependents of active duty personnel and military retirees and

  their dependents. TRICARE operates through various military-operated hospitals and clinics

  worldwide and is supplemented through contracts with civilian health care providers.

  TRICARE is a triple-option benefit program designed to give beneficiaries a choice between

  health maintenance organizations, preferred provider organizations, and fee-for-service benefits.

         48.     TRICARE requires physicians to certify to compliance with the Anti-Kickback

  Statute, among other federal health care laws.

         49.     Veterans Administration Health Care. The Department of Veteran Affairs

  ("VA") maintains a system of medical facilities from which all medically prescribed prosthetic

  and sensory aids, medical devices, assistive aids, repairs and services are made eligible to

  Veterans to maximize their independence and enhance their quality of life. Although the term

  "prosthetic device" may suggest images of artificial limbs, it actually refers to any device that

  supports or replaces loss of a body part or function and includes a full range of equipment and

  services for Veterans. This includes but is not limited to, cardiac devices. The system serves

  approximately four million veterans.

  IV.    Defendants Were Well Aware that Their Actions Would Cause Doctors to Submit
         False Claims in Violation of the Anti-Kickback Statute and the False Claims Act

         50.     Defendants recognized the need to comply with the AKS in promoting their

  CIEDs to health care professionals. Defendant Medtronic, Inc. was previously under a Corporate

  Integrity Agreement ("CIA") effective in July 2006 with the Office oflnspector General ("OIG")

  of the Department of Health and Human Services ("HHS"). One requirement of this CIA was to


                                                   12
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 14
                                                             Page
                                                               of 104
                                                                   15 of
                                                                      PageID:
                                                                         105 14




  provide training to its employees on the AKS and to provide guidance as to its potential

  implications, legal sanctions and examples of violations.

         5L .    In addition, Medtronic's Code of Conduct provides:

          Customer & Patient Interactions

         We have a responsibility to ensure that our interactions with customers and patients are
         ethical and beyond reproach. We will not attempt to influence a healthcare professional,
         patient, or customer through improper inducement. This means that we will not offer or
         provide an improper payment or other benefit to a customer as a reward for prior business
         or inducement for future business. We will adhere to our Global Business Conduct
         Standards (BCS) in order to build relationships based in integrity, trust, and honesty.
         Those of us who interact with customers must know, understand, and follow our BCS and
         any policies and procedures that apply to our work.

         "Customer" is defined as "any institution or individual, including any medical or
         healthcare professional or entity, in a position to purchase, lease, recommend, use or
         arrange for the purchase or lease of, or prescribe Medtronic products. For the purposes of
         the BCS, this also includes any person employed by a customer, close family member of,
         or an organization affiliated with the customer."

          Bribery

           Our respect for our Stakeholders and our commitment to conduct our business with
           integrity means that we never offer or provide any form of bribe, illegal payment, or
           kickback. We do not offer or provide items of value in order to improperly induce or
         . reward a customer for recommending, using, ordering, or purchasing a product or
           service. Likewise, we will not offer or pay for an unfair advantage in the marketplace,
           whether in areas of product approval, sales, research, permitting, hiring, or any other
           aspect of our business.

         52.     Boston Scientific is currently under, and in violation of a CIA it entered with the

 OIG of the U.S. Department of HHS in December 2009. Under the CIA, Boston Scientific is

  required to train all employees on the AKS and other laws they must abide by when selling and

  marketing Boston Scientific's products.

         53.     This CIA outlines detailed compliance requirements, as well as serious penalties

 for infractions of said requirements.




                                                  13
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 15
                                                             Page
                                                               of 104
                                                                   16 of
                                                                      PageID:
                                                                         105 15




         54.     Boston Scientific's illegal activities, as described herein, are in blatant disregard

 to the CIA it entered. Boston Scientific, by providing free technical services to doctors and

 advising doctors that it is a billable service, flies in the face of the terms and condii.ions of the

 previous settlement with the federal government and shows utter disregard for the law.

         55.     Boston Scientific's Code of Conduct requires its employees to be fair and not

 misrepresent or omit information while doing their job. Its Code of Conduct reads:

                 Be Fair to All Others

                 Boston Scientific expects you to deal fairly with others. This means you should
                 not take advantage of anyone by misrepresenting or omitting important
                 facts, or through any other unfair business practice. You should never
                 misrepresent or conceal your identity (emphasis added).

         56.     Boston Scientific took advantage of doctors by concealing the fact that the

 technical services it was providing to doctors was not a billable service and should not be billed

 by doctors.

         57.     St. Jude Medical's Code of Business Conduct states:

                Most countries in which the Company does business have laws and regulations
                that prohibit certain payments and donations to physicians and customers. One
                example is the United States Medicare/Medicaid Antifraud Statute. The
                Company's policy is to comply with all such laws and regulations. These are too
                complicated to be summarized in this code. Sales and Marketing employees and
                agents are expected to be familiar with the laws and regulations that govern them.
                In addition to complying with the pertinent laws and regulations, the Company
                will not:

                 1.      Make any payment or donation to a physician or customer in exchange for
                         the physician prescribing or the customer purchasing the Company's
                         products.

        58.      As described herein, the free technical services St. Jude, and all other Defendants,

 are providing, amount to free payments to doctors done for doctors' loyal support and continued

 business.



                                                    14
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 16
                                                             Page
                                                               of 104
                                                                   17 of
                                                                      PageID:
                                                                         105 16




         59.     Boston Scientific, Medtronic, St. Jude and Biotronik are all members of AdvaMed

 (the ''Advanced Medical Technology Association").

       ·. 60.   , Biotronik's website explicitly adopts the AdvaMed Code of Ethics and states,

 "[ o )ur Code of Business Conduct is based on the AdvaMed Code of Ethics. BIOTRONIK is a

 strong and active supporter of the AdvaMed Code of Ethics."

         61.     AdvaMed represents companies that develop, produce, manufacture, and market

 medical products, technologies and related services and therapies used to diagnose, treat,

  monitor, manage and alleviate health conditions and disabilities. Defendants, as members, have

 each certified compliance with the AdvaMed Code of Ethics (the "AdvaMed Code") and have

 announced their intention to comply with the AdvaMed Code.

         62.     Section 10 of the AdvaMed Code (effective July 1, 2009) states:

          X. Provision of Coverage, Reimbursement and Health Economics Information

         As Medical Technologies have become increasingly complex, so have payor coverage
         and reimbursement policies. Patient access to necessary Medical Technology may be
         dependent on Health Care Professionals and/or patients having timely and complete
         coverage, reimbursement, and health economic information. Consequently, a Company
         may provide such information regarding its Medical Technologies if it is accurate and
         objective. A Company also may collaborate with Health Care Professionals, patients and
         organizations representing their interests, to achieve government and commercial payor
         coverage decisions, guidelines, policies, and adequate reimbursement levels that allow
         patients to access its Medical Technologies.

         Permissible activities involving the provision of coverage, reimbursement and health
         economic information may include, but are not limited to:

                  • Identifying the clinical value of the Company's Medical Technologies and the
                  services and procedures in which they are used when providing coverage,
                  reimbursement and health economics information and materials to Health Care
                  Professionals, professional organizations, patient organizations, and payors.

                  •Collaborating with Health Care Professionals, their professional organizations,
                  and patient groups to conduct joint advocacy on coverage, reimbursement and
                  health economics issues; supporting Health Care Professionals and their



                                                 15
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 17
                                                             Page
                                                               of 104
                                                                   18 of
                                                                      PageID:
                                                                         105 17
                                                                                                     \




              professional organizations in developing materials and otherwise providing
              direct or indirect input into payor coverage and reimbursement policies.

             • Promoting accurate Medicare and other payor claims by providing
             .accurate and O'bjective information and materials to Health Care
             Professionals regarding the Company's Medical Technologies, including
             identifying coverage, codes and billing options that may apply to those
             Medical Technologies or the services and procedures in which they are used.

              • Providing accurate and objective information about the economically efficient
              use of the Company's Medical Technologies, including where and how they can
              be used within the continuum of care.

              • Providing information related to the Company's Medical Technologies
              regarding available reimbursement revenues and associated costs.

             • Providing information relating to changes in coverage or reimbursement
             amounts, methodologies and policies and the effects of such changes in order
             to facilitate a Health Care Professional's decision to buy or use the
             Company's Medical Technologies.

             • Providing accurate and objective information designed to offer technical or
             other support intended to aid in the appropriate and efficient use or installation of
             the Company's Medical Technologies.

             •Facilitating patient access to the Company's Medical Technologies by
             providing Health Care Professionals with assistance in obtaining patient
             coverage decisions from payors. This assistance may include providing
             information and/or training on payor policies and procedures for obtaining prior
             authorization, and providing sample letters and information on medical necessity
             and appeals of denied claims. In addition, at the request of a Health Care
             Professional to facilitate patient access to the Company's Medical Technology,
             and subject to appropriate privacy safeguards, the Company may assist the
             patient by facilitating the preparation and submission of requests for coverage
             determinations, prior authorizations, pre-certifications and appeals of denied
             claims, relating to a Company's own Medical Technology; however such
             assistance should not be provided as an unlawful inducement.

             A Company may not interfere with a Health Care Professional's independent
             clinical decision-making or provide coverage, reimbursement and health
             economics support as an unlawful inducement. For example, a Company
             should not provide free services that eliminate an overhead or other expense
             that a Health Care Professional would otherwise of business prudence or
             necessity have incurred as part of its business operations if doing so would
             amount to an unlawful inducement. Further, a Company should not suggest



                                              16
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 18
                                                             Page
                                                               of 104
                                                                   19 of
                                                                      PageID:
                                                                         105 18




                  mechanisms for billing for services that are not medically necessary, or for
                  engaging in fraudulent practices to achieve inappropriate payment.

          (emphasis added in bold)

         63.     At all times relevant to the Complaint, as more fully described below, all

  Defendants violated the AdvaMed Code, their respective codes of conduct, and the law by

  providing free technical services to monitor doctors' patients as an unlawful inducement to coax

  doctors into using their cardiac devices.

         64.     Each one knew that it was required to communicate with doctors that the

  technical component of a patient's follow-up was not a billable service for doctors. Instead of

  using transparent business practices, Defendants created a system of misperception which

  resulted in fraudulent billing by doctors. It was Defendants intent to cause doctors to bill for

 technical services and create a profitable situation for doctors in exchange for doctors' continued

 commitment to use their cardiac devices.

        65.      The AdvaMed Code also addresses the appropriateness and legality of research,

 educational grants and charitable donations.

                          XI. Research and Educational Grants and Charitable Donations

                          A Company may provide research and educational grants and charitable
                          donations. However, a Company may not provide such grants or
                          donations as an unlawful inducement. Therefore, a Company should: (a)
                          adopt objective criteria for providing such grants and donations that do
                          not take into account the volume or value of purchases made by, or
                          anticipated from, the recipient; (b) implement appropriate procedures to
                          ensure that such grants and donations are not used as an unlawful
                          inducement; and (c) ensure that all such grants and donations are
                          appropriately documented.

         66.     At all times relevant to the Complaint, and as more fully described below,

 Defendants violated the AdvaMed Code, their respective codes of conduct, and the law by

 providing grant monies to fund cardiology fellowships and funds for sham research.


                                                   17
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 19
                                                             Page
                                                               of 104
                                                                   20 of
                                                                      PageID:
                                                                         105 19




  V.      The "Technical" and "Professional" Components of a Cardiac Device Interrogation

          67.      The CIED industry is a leading source of revenue for medical device

  manufacturers with, approximately 3 million people in the United States with cardiac

  implantable devices, a majority of whom are Medicare/Medicaid beneficiaries. It is a multi-

  billion dollar industry.

          68.      The growth of CIED use in the United States is due to an aging population, and

  the necessary post-implantation follow-up, has resulted in a significant increase in Medicare and

  Medicaid spending over the last decade. Greenspan, Arnold, MD et al., Trends in Permanent

  Pacemaker Implantation in the United States.from 1993 to 2009, J. AM. COL. CARDIOLOGY,

  Vol. 60, No. 16, 2012

          69.      Patients with CIEDs require continued and repeated post-implant follow-up

  treatment to ensure that their device is working properly and that they remain in good cardiac

  health. This follow up is typically performed by the patient's cardiologist or a local hospital

  device clinic.

          70.      This CIED assessment is called an "interrogation." Generally, a device

  interrogation will assess whether the device is working properly. During an interrogation, the

  data in the device is accessed and evaluated. This data includes but is not limited to, battery life,

  the functionality of the lead wires, and record of any abnormal heart rhythms detected by the

  device or therapies issued. Gathering this information helps a doctor provide additional care to

  his I her patient and to determine whether adjustments to the device should be made.

         71.       Device interrogations have 2 distinct components: (1) technical; and (2)

  professional.




                                                   18
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 20
                                                             Page
                                                               of 104
                                                                   21 of
                                                                      PageID:
                                                                         105 20




         72.     The technical component involves utilizing an interrogation unit to make sure the

 device is functioning correctly, assessing any device activity and making adjustments to the

 cardiac device with physician supervision. The technical component is done with a proprietary

  machine that has a wand which is held over the patient's heart. Each machine is different based

  upon the brand device implanted in the patient.

         73.     The professional component of a patient's interrogation includes doctor

  supervision, as well as discussion and analysis of the results with the patient.

         74.     Device interrogations are typically done by an employee of the device

  manufacturer alongside a patient's cardiologist; the doctor recommends adjustments, talks to the

 patient, reviews his or her results with them, and answers any questions that they may have.

         75.     On average, a patient requires two (2) to four (4) interrogations per year.

         76.     It is rare that a physician will conduct the technical component of the device

  interrogation due to certain complexities the device industry has created including operating the

 proprietary, highly complicated equipment needed to do the interrogation and more importantly,

 being unable to purchase the equipment for themselves. However, some doctors are trained to

  perform this task.

         77.     Instead, these services are provided by the Defendants gratis to doctors, such as

 Relators.

         78.     Defendants do not offer, require or ask the physician to purchase or lease these

 technical services.

         79.     Relators state that no contracts exist between Defendants and doctors or practices

 in relation to their providing free technical services.




                                                    19
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 21
                                                             Page
                                                               of 104
                                                                   22 of
                                                                      PageID:
                                                                         105 21




         80.    Because Defendants' equipment is proprietary, no outside companies are able to

 contract these services to doctors; instead, doctors and patients are beholden to Defendants. This

 arrangement obligates physicians to rely on .Defendants until the end of time.

         81.    Typically, the machine used to conduct the interrogation is brought to the doctor's
                                                 1




 office by a company representative.

         82.    On some occasions, however, Defendants will leave the machine on premises.

 This is usually done with larger volume cardiology practices that implant a considerable number

 of devices. Many times this includes teaching universities with electrophysiology divisions,

 large group practices or universities.

         83.    Yet, even when Defendants leave the equipment at the facility, they still send

 representatives to perform the technical component of the device interrogation for free. This is

 done even when physicians are trained and able to conductthe technical component of the

 interrogation themselves.

         84.    As discussed more fully below, as soon as a device representative visits a health

 care facility or office to conduct cardiac device interrogations, a cardiologist is not permitted to

 bill for the technical component of the device interrogation.

  VI.   Reimbursement for the "Technical" and "Professional" Components of a Cardiac
        Device Interrogation

         85.    After a patient's device is interrogated by one of the Defendants' representatives,

 doctors bill the patient's insurance for these services. Many cardiac patients are Medicare and

 Medicaid patients.

        86.     Like the actual interrogation itself, reimbursement for device interrogation is split

 into the same 2 basic billing categories: (1) a "professional component"; and (2) a "technical

 component." Billing for both services is referred to as "global" billing.


                                                     20
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 22
                                                             Page
                                                               of 104
                                                                   23 of
                                                                      PageID:
                                                                         105 22




       87.     When a ·'global" billing code is used by a doctor for reimbursement, a five-digit

 number is used.

       88.     The five (5) globa\, billing codes used: are:

              . 93279        .. [Single Lead] PROGRAMMING DEVICE EVALUATION (IN
                                PERSON) WITH ITERATIVE ADJUSTMENT OF THE
                                IMPLANT ABLE DEVICE TO TEST THE FUNCTION OF THE
                                DEVICE AND SELECT OPTIMAL PERMANENT
                                PROGRAMMED VALUES WITH ANALYSIS, REVIEW AND
                                REPORT BY A PHYSICIAN OR OTHER QUALIFIED
                                HEALTH CARE PROFESSIONAL

               93280           [Dual Lead] PROGRAMMING DEVICE EVALUATION (IN
                               PERSON) WITH !TERATIVE ADJUSTMENT OF THE
                               IMPLANTABLE DEVICE TO TEST THE FUNCTION OF THE
                               DEVICE AND SELECT OPTIMAL PERMANENT
                               PROGRAMMED VALUES WITH ANALYSIS, REVIEW AND
                               REPORT BY A PHYSICIAN OR OTHER QUALIFIED
                               HEALTH CARE PROFESSIONAL

               93282-84        [ICD] PROGRAMMING DEVICE EVALUATION (IN
                               PERSON) WITH !TERA TIVE ADJUSTMENT OF THE
                               IMPLANT ABLE DEVICE TO TEST THE FUNCTION OF THE
                               DEVICE AND SELECT OPTIMAL PERMANENT
                               PROGRAMMED VALUES WITH ANALYSIS, REVIEW AND
                               REPORT BY A PHYSICIAN OR OTHER QUALIFIED
                               HEALTH CARE PROFES.SIONA!_,

               93288           INTERROGATION DEVICE EVALUATION (IN PERSON)
                               WITH ANALYSIS, REVIEW AND REPORT BY A PHYSICIAN
                               OR OTHER QUALIFIED HEALTH CARE PROFESSIONAL,
                               INCLUDES CONNECTION, RECORDING AND
                               DISCONNECTION PER PATIENT ENCOUNTER; SINGLE,
                               DUAL, OR MULTIPLE LEAD PACEMAKER SYSTEM

               93289           INTERROGATION DEVICE EVALUATION (IN PERSON)
                               WITH ANALYSIS, REVIEW AND REPORT BY A PHYSICIAN
                               OR OTHER QUALIFIED HEALTH CARE PROFESSIONAL,
                               INCLUDES CONNECTION, RECORDING AND
                               DISCONNECTION PER PATIENT ENCOUNTER; SD\JGLE,
                               DUAL, OR MULTIPLE LEAD IMPLANTABLE
                               CARDIOVERTER-DEFIBRILLATOR SYSTEM, INCLUDING
                               ANALYSIS OF HEART RHYTHM DERIVED DATA
                               ELEMENTS.


                                                  21
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 23
                                                             Page
                                                               of 104
                                                                   24 of
                                                                      PageID:
                                                                         105 23




         89.    If a doctor bills only for the "professional component" of the interrogation a 26-

 modifier must be used.

        90.     If reimbursement is submitted for the "technical component'' only, a five number

 code with a hyphen and the letters "'TC" must be used.

        91.     Under the law, ownership of the equipment is one of the determining factors for

 billing the technical service. The doctor's practice may bill for the technical service only if the

 he or she personally performs the technical service or employs the staff member who performs

 the technical service in the physician office. If a device industry representative is involved in

 performing the technical service, the doctor ma/ orily bi IL the professional service, i.e., physician

 analysis, review(s} and:report(s).

  VII. Defendants Created a System Lacking In Sufficient Compliance Controls with the
       Intent to Cause Doctors to Defraud the Government

        92.     Defendants knew that its actions (or many times inaction) would cause doctors to

 submit false or fraudulent claims to the government; this was done in exchange for doctors'

 loyalty and agreement to recommend use      of.th~ir   particular products.

        93.     Defendants have always known that the technical component of a cardiac device

 interrogation should not be billed by doctors unless they personally perform the technical service

 or employ the staff member who performs the technical service in the physician office.

        94.     Defendants have always known that if a device industry representative is involved

 in performing the technical service, the doctor may only bill the professional service.

        95.     Defendants' device representatives who render the technical services are not hired

 by or paid for by doctors. Defendants' technical services are never separately billed to doctors.




                                                   22
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 24
                                                             Page
                                                               of 104
                                                                   25 of
                                                                      PageID:
                                                                         105 24




           96.    Relators, along with other doctors, have never been asked by any of the

 Defendants to purchase their technical service and have never been able to do so.

           97.    Re!ators, along with other doctors, have never been separately billed by

 Defendants for the technical services they have provided. Relator I has even asked whether he

 should provide payment for buying or leasing these services or whether the global billing should

 be "split-billed" and has been repeatedly told no.

           98.    Not once have Defendants' representatives instructed Relators or their colleagues

 that they cannot bill for their technical services; instead, they told Relator I that he could bill

 globally- for both the technical and professional components, and both Relators were

 encouraged to do so verbally and by completion of the global code on their respective billing

 sheets.

           99.    Relators state that unlike Defendants, other vendors regularly enter into contracts

 with doctors and either lease or sell them equipment, or split-bill services. Some of these types

 of contracts are for equipment and services related to nuclear cardiology testing, holter monitors,

 vascular. testing, sleep studies and telemetry devices.

           100.   Upon information and belief, in the fall of2013, St. Jude made an internal

 decision to no longer provide technical support in doctors' offices so as not to facilitate doctors'

 inappropriate global billing practices.

           101.   Upon information and belief, realizing that failing to provide technical services

 would detrimentally impact cardiac device sales, St. Jude instead issued a 10-page Physician

 Reimbursement Guide which became effective January 1, 2014.




                                                    23
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 25
                                                             Page
                                                               of 104
                                                                   26 of
                                                                      PageID:
                                                                         105 25




         I 02.   St. Jude's Physician Reimbursement Guide confirms that doctors should not be

 billing for the technical component of a patient's cardiac device interrogation when a device

 representative is performing the service for free.

         103.    Relators state that St. Jude has never provided eithecofthem with the Physician

 Reimbursement Guide nor did they direct them to a website or hotline where this information

 could be found.

         104.    Similarly, in 2012, Biotronik published a Pacemaker, /CD and ICM Evaluation

 2012 Reimbursement Overview (the "Reimbursement Overview") to address billing practices.

         105.    Biotronik's Reimbursement Overview also makes clear that doctors are not to bill

 for technical services which are provided by their device representatives.

         106.    Relator's state that Biotronik never provided them with the Reimbursement

 Overview; instead, Relators had to conduct and independent investigation to locate this

 information.

        107.     Instead of being forthright with critical billing information for technical services

 they are personally providing, Defendants are playing a game of hide and seek with doctors

 when it comes to critical reimbursement information.

         108.    Defendants' "hide and seek" policy has caused and continues to cause doctors to

 submit false and fraudulent claims to the government for technical services. Defendants know

 this is happening and fail to properly address it because each are afraid of losing critical market

 share in a highly competitive marketplace.

         109.    Moreover, in a majority of instances, the Defendant technicians interpret the

 cardiac device interrogation results and make recommendations and actual changes to the cardiac

 devices, thereby tainting physician professional billing.



                                                   24
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 26
                                                             Page
                                                               of 104
                                                                   27 of
                                                                      PageID:
                                                                         105 26




 VIII.   Each Defendant Encourages Doctors to Submit False Claims for Reimbursement for
         Technical Services

         A.       Medtronic

          110.    On September 24, 2014, a Senior Clinical Specialist CVG (Cardiovascular Group)

 of Medtronic, Inc. Cardiac Rhythm Disease Management performed an in-office pacemaker

 interrogation of patient in a New Jersey cardiology office.

          111.    Medtronic's clinical specialist performed all of the technical interrogation of this

 patient's pacemaker.

         112.     No physician, medical professional or ancillary staff was present during the

 interrogation.

         113.     At the conclusion of the interrogation, Medtronic's clinical specialist completed

 the billing sheet for Relator II, noting that a Dual Lead Programming was performed and

 showing the doctor how it should be billed.

          114.    Medtronic's clinical specialist marked CPT code 93280, a "global" code for

 billing a dual lead programming.

         115.     Medtronic's clinical specialist did not include a ''26" modifier on the billing sheet

 nor instruct anyone in Relator II's office that a 26-modifier should be used when submitting the

 claim for reimbursement.

         B.       Boston Scientific

          116.    On October 23, 2013, a Boston Scientific representative-technician performed

 technical services at Relator I's office.

         117.     At 2:46 p.m., the representative-technician performed an interrogation and

 reprogram of an ICD with dual pacemaker leads on a Medicare recipient.




                                                   25
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 27
                                                             Page
                                                               of 104
                                                                   28 of
                                                                      PageID:
                                                                         105 27




        118.    He utilized the proprietary Boston Scientific equipment to interrogate the

 Medicare patient's cardiac implantable device.

         119.   He performed all of the functions of interrogation and reprogramming of the

 computer and did not wait for Relator I to be present for the interrogation.

         120.   After the interrogation was complete, the representative-technician supplied a

 Boston Scientific Device Follow-up Report to Relator I.

         121.   He then completed the cardiology billing encounter form and personally circled

 billing code 93283 to demonstrate to Relator which billing code was appropriate to submit.

         122.   As is common practice, this representative-technician did not instruct Relator I to

 use a 26-modifier nor advise him that his technical services were not reimbursable.

         123.   Instead, he told Relator I that 93283 - the global billing code - was appropriate

 for the services rendered.

         124.   At no time did this representative-technician or Boston Scientific request or

 receive monies for the technical services rendered.

         125.   Relator I did not submit the false bill to the CMS after consulting with outside

 counsel as to whether it was legal.

         126.   Upon learning of the fraud, Relator I instructed his billing supervisor to submit

 claims for professional services only which includes the 26-modifier.

         C.     St. Jude

         127.   Over the years, St. Jude made representations to Relators that they do not

 participate in technical billing they perform.




                                                  26
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 28
                                                             Page
                                                               of 104
                                                                   29 of
                                                                      PageID:
                                                                         105 28




          128.     Defendant St. Jude has represented to Relator I that they are aware it is not

 appropriate for their representative-technicians to assist doctors with the technical component

 and not bill the doctor for it.

          129.     Relator I was told by a St. Jude representative that St. Jude has incurred and

 continues to incur serious expense as a result of performing the technical component of the

 cardiac device interrogations gratis for doctors, for which it is not reimbursed.

              D.   Biotronik

          130.     On November 13, 2013, a Biotronik representative performed a device

 interrogation for one of Relator I's patients.

          131.     The Biotronik representative evaluated the patient and performed the entire

 technical aspect of the ICD interrogation without the direct or general supervision of Relator or

 his staff.

          132.     Under neither the direct nor general supervision of Relator I nor his clinical staff,

 the Biotronik's representative concluded that there were no programing changes required for

 Relator I's patient.

          133.     At no time did Relator I or his staff participate, oversee or monitor the technical

 aspect of the ICD interrogation.

          134.     The Biotronik representative wrote down eight lines of documented information

 pertaining to the evaluation and gave them to Relator I.

          135.     The Biotronik representative informed Relator I that no programing changes were

 required for this patient, and provided Relator I with a print version of the device interrogation.




                                                     27
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 29
                                                             Page
                                                               of 104
                                                                   30 of
                                                                      PageID:
                                                                         105 29




           136.   The Biotronik representative then advised Relator I that he could bill for the

 global service. She assisted Relator I by designating the global CPT billing code by marking it

. off on Relator I's billing form.                                                                    .:1.



           137.   Relator I asked the Biotronik representative if payment to her for the technical

 component of the device interrogation was necessary; she said no.

           138.   This discussion was witnessed by one of Relator I's assistants.

           139.   At no time did the Biotronik representative inform Relator I that the technical

 component of the interrogation should not be billed by him.

           140.   The conduct, as described above, is indicative of that of which is happening on a

 continuous basis throughout the country. Relators I and II have repeatedly witnessed this

 conduct in the Commonwealth of Pennsylvania and the State of New Jersey. Relators I and II

 have spoken to colleagues and confirmed that Defendants have engaged in this scheme across the

 nation.

           141.   Defendants' widespread kickback scheme is done in an effort to impact device

 sales and to avoid any negative impact on market share should Defendants bill for the technical

 services rendered.

  IX.      Defendants Provide Fellowship Grants to High Volume Implanters for Loyal Use of
           Their Products

           142.   In and around 1998, CMS/Medicare ceased subsidizing subspecialty training

 programs in internal medicine and specific subspecialty training programs. Because

 CMS/Medicare did not make funding available for these subspecialty programs, hospitals,

 medical schools and clinical subspecialty practices controlled training of these subspecialty

 groups.




                                                   28
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 30
                                                             Page
                                                               of 104
                                                                   31 of
                                                                      PageID:
                                                                         105 30




         143.    Without government funding, hospitals, medical schools and clinical subspecialty

 practices needed to find alternative sources of funding to continue subspecialty training

 programs.

         144.   Initially, the pharmaceutical industry and medicaLdevice manufacturers filled the

 void left after CMS/Medicare ceased subsidizing subspecialty training programs.

         145.   Within years, however, pharmaceutical companies largely withdrew funding of

 subspecialty programs.

         146.   Ultimately, it was necessary for cardiology subspecialty groups to procure

 funding for their training programs from the cardiac device companies.

         147.   Based upon information and belief, Defendants knowingly fund fellowship grants

 to subsidize cardiac fellows to do free work for the attending cardiologists, cardiology groups

 and/or hospitals.

         148.   Defendants target high-volume cardiologists, surgeons, cardiology groups and/or

 hospitals with rich financial incentives.

         149.   Relator I was told that, in exchange for use of their products, Defendants

 subsidize the salary and benefits for cardiac fellows at teaching programs at various universities

 and teaching hospitals.

         150.   The yearly cost of one cardiology fellowship is approximately $100,000.00.

         151.   Often times, the monies are earmarked as unrestricted grants given to a teaching

 university, which in tum gives the money to fund cardiac fellows, in order to conceal an intended

 kickback.




                                                 29
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 31
                                                             Page
                                                               of 104
                                                                   32 of
                                                                      PageID:
                                                                         105 31




         152.   In fact, Relator I was told by another cardiologist that as soon as a contract of this

 type was signed with a New Jersey teaching institution, usage of that Defendant's particular

 cardiac devices increased by approximately 400%.

         153.   This same institution almost exclusively uses this Defendant's particular products

         154.   Not only does this type of funding result in an immediate increase in sales for the

 Defendants' respective products, it also creates an ongoing loyalty between doctors and

 Defendants, resulting in a long return on investment for Defendants.

         155.   The subsidization of these cardiac fellows amounts to kickbacks under the AKS

 and resulted in fraudulent claims submitted to federal health care programs.

        156.    Cardiology fellows are a huge perk to the practice because they assist

 cardiologists by working nights and weekends, and help with clinical work and general tasks that

 they would otherwise have to perform, such as patient consults.

         157.    Cardiologists from other cardiology groups who are not captive to a particular

 cardiac device manufacturer are not allowed to participate in the cardiology fellowship program

 and cannot get the benefit of the fellows' services.

        158.    Instead, these non-preferred cardiologists must hire with their own funds

 moonlighters, nurse practitioners and additional attending cardiologists at substantial cost.

        159.    Meanwhile, large cardiology groups who pledge allegiance to a certain device

 manufacturer do not have to cover fellowship costs because Defendants subsidize these costs.

        160.    According to Relator I, subsidization of cardiology fellows is a pervasive practice

 and was also done for well-known Pennsylvania teaching health programs.

        161.    A Biotronik representative told Relator I that he knows that a South Jersey cardiac

 group was not using Biotronik devices enough because it did not subsidize cardiology fellows or



                                                  30
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 32
                                                             Page
                                                               of 104
                                                                   33 of
                                                                      PageID:
                                                                         105 32




 offer any kickbacks to that particular group. He also stated that a particular healthcare system

 would not use its products unless it subsidized a cardiology fellow through its educational

 program.

         162.   Like St. Jude, Medtronic subsidizes cardiac electrophysiology fellowship training.

         163.   According to Relator I, Medtronic provided a New Jersey-based cardiologist with

 fellowship monies while he was actively practicing clinical cardiology as an attending.

         164.   Relator I states that Medtronic further compensated this cardiologist by paying for

 him to train simultaneously in another subspecialty.

         165.   Actions such as these lead to tainted referrals with an obligation of the training

 cardiologists and the training institution to use Medtronic devices.

         166.   Relator I learned this information on two separate occasions by a St. Jude

 representative and by a local clinical cardiologist.

         167.   Specifically, Relator I learned that this New Jersey cardiologist would not honor

 requests from other cardiologists to use a particular manufacturer's device and in turn, would use

 a Medtronic device because of his loyalty to Medtronic, disregarding referral doctors' orders.

        168.    Relator I also learned that this New Jersey cardiologist, many times, replaces

 cardiac device leads (the wires that connect the device to the heart) with Medtronic-brand leads.

 Hybrid devices are not always optimal; typically, a doctor should try to use the same

 manufacturer's leads and device instead of switching out parts.

        169.    Relator I was told that this New Jersey cardiologist creates hybrid devices to

 ensure his benefactor, Medtronic, receives revenue.

        170.    A St. Jude representative confirmed that, by creating hybrid devices, this

 particular cardiologist has created a quasi-fee splitting scenario to support Medtronic. Upon



                                                  31
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 33
                                                             Page
                                                               of 104
                                                                   34 of
                                                                      PageID:
                                                                         105 33




 information and belief, this type of quasi-fee splitting scenario happens nationally based on the

 amount of kickbacks paid to doctors.

         171.   As stated above, Medtronic has subsidized his electrophysiology fellowship and

 subsidized his career with large annual consulting stipends.

         172.   Further, this same St. Jude representative told Relator I that he believes that there

 has been overutilization of Medtronic devices in nursing home patients. This presents a serious

 health risk to elderly individuals because, under certain circumstances, implantation of a cardiac

 device is too high risk and increases the chance of death.

         173.   Relator I was also told that, at some point, a prominent Philadelphia hospital

 would not implant Biotronik devices because other companies were subsidizing their fellowship

 programs.

        174.    Relator I has learned from a former colleague that it was an ongoing practice at

 the particular institution referenced above within the past two (2) years.

        175.    Relator I has also learned of other South Jersey and Philadelphia institutions that

 will implant a majority of one Defendant's device due to financial arrangements with that

 particular company and financing of cardiac fellows.

        176.    Relators state that if only one device manufacturer supports a cardiology

 fellowship, there is a mutual expectation among the partners of the cardiology practice that

 doctors would almost exclusively use that manufacturer's products.

  X.    Defendants Provide Other Kickbacks Under the Guise of Consultant Fees and
        Research Stipends

        177.    Defendants employ high volume implanters as consultants who bring in tens of

 millions of dollars in revenue.




                                                  32
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 34
                                                             Page
                                                               of 104
                                                                   35 of
                                                                      PageID:
                                                                         105 34




         178.     These physicians implant a high number of devices for a particular company per

 year.

         179.     Defendants paythese so-called consultants high volume large sums of money in

, .the fonn.ofconsultation payments.                                                                  I   '




         180.     Defendants make these payments to induce future referrals and implantation of

 their devices.

         181.     Upon information and belief, to receive the exorbitant consulting fees, the

 implanting physician needs to justify their high volume yearly and therefore have a bias to insert

 in devices in marginal patients.

         182.     Defendants induce these doctors to use only their CIEDs with handsome

 "consulting fees."

         183.     Given the inducement, any patient who goes to a particular physician for a device

 is a tainted referral because he/she may not be getting the appropriate device tailored to their

 clinical problems or gives the temptation to over utilize the devices. While CIEDs have similar

 attributes, each also have certain qualities that should be considered based on an individual

 patient's needs.

         184.     Instead the patient receives a device manufactured by the company which pays a

 handsome "consulting fee" to the physician.

         185.     Relators were told that an attending cardiologist in New Jersey employed and

 salaried by a prominent New Jersey hospital, is paid directly a consultant salary by Medtronic

 and also had a fellowship funded by Medtronic to train in electrophysiology.

         186.     This group, in tum, uses Medtronic devices almost exclusively.




                                                  33
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 35
                                                             Page
                                                               of 104
                                                                   36 of
                                                                      PageID:
                                                                         105 35




         187.    Relators learned through a St. Jude's representative that this New Jersey

 cardiologist generates enormous revenue.

      · · 188,   This doctor, in tum, is rewarded for his loyalty to Medtronic products with

 ''consultant" fees.

         189.    A St. Jude representative told Relator I that this New Jersey cardiologist could not

 implant new and technologically superior device because it would conflict with his Medtronic

 arrangement.

         190.    As a result of the Medtronic incentive and kickback scheme, this New Jersey

 cardiologist denies patients medical benefits because of the financial inducement by Medtronic.

         191.    Consultant fees in the form of a quid pro quo - here, for exclusive loyalty and use

 of a Defendant's cardiac products, is a kickback and prohibited by the AKS.

         192.    Similarly, Defendants subsidize meaningless ''Clinical Research" which,

 according to Relators, have no medical or academic purpose.

         193.    Relators state that Defendants provide clinical research stipends to large or high

 volume cardiologists and cardiology groups.

         194.    According to Relators, these clinical research projects are purposefully

 insignificant and rarely result in the publication of any peer review journal articles.

         195.    Defendants generally offer research projects to cardiology groups in exchange for

 research stipends. Some of this research is bona fide clinical work based upon evidence-based

 medicine. It is done for the betterment of patients and science.

         196.    According to Relators, sometimes Defendants offer what they would consider

 "sham research" projects as a technique to funnel monies to doctors in exchange for use of their

 cardiac products.



                                                  34
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 36
                                                             Page
                                                               of 104
                                                                   37 of
                                                                      PageID:
                                                                         105 36




         197.      Defendants subsidize meaningless research projects at economically profitable

 cardiology groups as an economic inducement in exchange for use of their heart devices.

         198.      Many cardiology groups will not consider using a particular manufacturer's

 device unless they are paid research grant dollars.

         199.      Defendants generally only give clinical research stipends to large or high volume

 cardiologists and cardiology groups which implant a significant amount of devices.

         200.      In addition, a St. Jude representative and supervisor has told Relator I that a large-

 volume, private practice cardiology group in New Jersey, would only use St. Jude devices if St.

 Jude somehow funded the group. "Funding" to the cardiology group was made in the form of

 research grants and lavish meals.

         201.      By providing remuneration to doctors in the form of consultant fees and research

 stipends, Defendants intended to induce those doctors to use their products. It was reasonably

 foreseeable that some of those medical devices would be for federal health care program

 beneficiaries and that claims for those cardiac devices would be submitted to federal health care

 cprograms. Thousands of such claims were, in fact, submitted and reimbursed by federal health

 care programs.

  XI.    Fraud on the Federal Health Care Programs Though Use of Pacemaker Mills

         202.      To further this fraud to benefit the physicians who are the predominant source of

 revenue, the cardiac device manufacturers support "pacemaker mills" to provide post-implant

 follow-up, the technical consulting services for a greater number of pacemakers, and

 defibrillators.

         203.      These "pacemaker mills" are supervised by cardiologists and electrophysiologists.




                                                     35
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 37
                                                             Page
                                                               of 104
                                                                   38 of
                                                                      PageID:
                                                                         105 37




           204.   Even if there is a nurse or other personnel from the cardiologist practice, or even

 if the cardiologist is in the room, once the technician is in the room, they expedite the

 interrogation of the patient's 'device and the performance of the technical component.

           205.   This expediting characteristic can permit a pacemaker clinic to interrogate and

 perform technical services on up to four to five patients per hour or more.

           206.   Based on representation from St. Jude officials, and also from personal

 communications with both an electro-physiologist and a cardiologist affiliated with a prominent

 New Jersey health system, there are pacemaker clinics throughout the United States where

 patients are pushed through at a high volume with device· manufacturer's representatives present

 during these episodes.

           207.   The physicians in these pacemaker mills are billing professional and technical

 components.

           208.   Relator I knows of at least two (2) pacemaker mills located in southern New

 Jersey.

           209.   One St. Jude representative informed Relator I about a cardiology practice where

 patients are having device representatives of different companies do the entire technical portion

 of device interrogations and billing of these tests globally for a multitude of these tests on a

 single day.

           210.   These pacemaker mills greatly contribute to the kickback scheme and submission

 of false claims because under these circumstances, physicians are submitting large

 reimbursement requests to government health care programs for technical services that they

 never perform.




                                                   36
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 38
                                                             Page
                                                               of 104
                                                                   39 of
                                                                      PageID:
                                                                         105 38




         211.   Relator II has witnessed the same CMS global billing violation, when the

 Defendants' technicians perform the technical component of the interrogations at his own

 group's pacemaker clinic.

  XII.   Medtronic Causing the Submission of False Claims Through the Use of Enhanced
         CMS Billing

         212.   Within the past five (5) years, Medtronic developed a unique cardiac device with

 impendence monitoring, a special tool which allowed the device to monitor fluid balance and

 congestive heart failure in patients.

         213.   Several years ago, when impendence monitoring was first introduced, Relator I

 attended a dinner meeting with several cardiologists at Fogo de Cho in Philadelphia, hosted by

 Medtronic.

         214.   During this dinner meeting, Medtronic' s sales representative gave a PowerPoint

 presentation outlining to cardiologists the advantages this device had over other cardiac devices.

         215.   During his presentation, the Medtronic representative also showed the doctors

 how they could obtain additional compensation and enhance their billings if they used this

 Medtronic cardiac device exclusively.

         216.   Because this cardiac device had an extra feature, one could use a special billing

 code to obtain additional compensation. Doctors were told that using this device would generate

 a new stream of revenue for their practices.

         217.   This is just one more example of how Medtronic, like the other Defendants,

 encourage doctors to overbill in exchange for continued commitment and use of their products.




                                                 37
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 39
                                                             Page
                                                               of 104
                                                                   40 of
                                                                      PageID:
                                                                         105 39




                                            COUNT ONE
                               Violations of Federal False Claims Act
              31 U.S.C. § 3729(a)(l) (2006) and, as amended, 31 U.S.C. § 3729(a)(l)(A)

             218.   Plaintiff incorporates by reference and re-allege all of the foregoing paragraphs as

 if fully set forth: :berein.

             219.   This Count is brought by Relator I and Relator II the name of the United States

 under the qui tam provisions of 31 U.S.C. §3729(a)(l) (2006), and, as amended, 31 U.S.C. §

 3729(a)(l)(A).

             220.   By virtue of the above-described acts, and in violation of the federal Anti-

 Kickback Statute, 42 U .S.C. § l 320a-7b(b )(2), Defendants knowingly caused to be presented

 false or fraudulent claims for payment or approval of technical services rendered on cardiac

 device patients, in addition to other cardiac care, and continues to cause to be submitted false or

 fraudulent claims for payment or approval, directly or indirectly, to officers, employees or agents

 of the United States in violation of31U.S.C.§3729(a)(l) (2006) and, as amended, 31 U.S.C. §

 3729(a)(l)(A).

             221.   Plaintiff United States, unaware of the falsity of the claims and/or statements

 caused to be made by Defendants and in reliance on the accuracy thereof, paid the global fee for

 cardiac device interrogation that would otherwise not have been allowed by the government

 pa yo rs.

             222.   The amounts of the false or fraudulent claims caused by the Defendants to be

 submitted to the United States were material. By reason of Defendants wrongful conduct, the

 United States has suffered substantial losses in an amount to be proved at trial, and therefore is

 entitled to multiple damages under the False Claims Act, to be determined at trial, plus a civil

 penalty of $5,500 to $11,000 for each such false claim caused to be submitted by Defendants.



                                                     38
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 40
                                                             Page
                                                               of 104
                                                                   41 of
                                                                      PageID:
                                                                         105 40




         223.     Relators believe and aver that they are each an original source of the facts and

 information on which this action is based.

                                        COUNT TWO
                                Violations of False Claims Act
  ·-       31 U.S.C. § 3729(a)(2) (2006), and as amended, 31 U.S.C. § 3729(a)(l)(B)

         224.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein.

         225.    This Count is brought by Relator I and Relator II in the name of the United States

 under the qui tam provisions of 31 U .S.C. § 3 730 for Defendant's violation of 31 U.S.C. §

 3729(a)(2) (2006), and as amended, 31 U.S.C. § 3729(a)(l)(B).

         226.    By virtue of the above-described acts, and in violation of the federal Anti-

 Kickback Statute, 42 U .S.C. § l 320a-7b(b )(2), Defendants knowingly caused to be made or used

 false records or statements to get false or fraudulent claims for payment or approval by the

 United States, and continues to make, use or cause false records and statements to be made or

 used to get false or fraudulent claims for payment or approval of technical services rendered on

 .cardiac device patients, in addition to other cardiac care, paid or approved by the United States.

         227.    Plaintiff United States, unaware of the falsity of the records and/or statements

 caused to be made and used by Defendants, and in reliance on the accuracy thereof, have paid

 and approved, and continue to pay and approve, claims for the global fee for cardiac device

 interrogations that would otherwise not have been allowed by the government payors and would

 not have been paid or approved in any part if the truth were known.

         228.    The amounts of the false or fraudulent claims caused by the Defendants to be

 submitted to the United States were material. By reason of Defendants' wrongful conduct, the

 United States has suffered substantial losses in an amount to be proved at trial, and therefore is

 entitled to multiple damages under the False Claims Act, to be determined at trial, plus a civil

                                                   39
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 41
                                                             Page
                                                               of 104
                                                                   42 of
                                                                      PageID:
                                                                         105 41




 penalty of $5,500 to $11,000 for each such false statement caused to be made or used by

 Defendants.

         229.    Relators believe and.aver that they are each an original source of the facts and

 information on which this action is based.

                                         COUNT THREE
                                    Violations of the Stark Law
                                     42 U.S.C. § 1395nn et seq.

         230.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein.

         231.    This Count is brought by Relator I and Relator II in the name of the United States

 for Defendant's violation of 42 U.S.C. § 1395nn et seq., the "Stark" law.

         232.    The Stark law prohibits the referral of Medicare and Medicaid beneficiaries by a

 physician to an entity for the provision of "designated health services" if the physician, or the

 physician's immediate family member, has a financial relationship with the entity, unless a

 statutory exception applies to that financial relationship.

         233.    The Stark law violation occurs when (i) a physician, who has a financial

 relationship with a medical device company, (ii) recommends inpatient and outpatient hospital

 services (which is considered a "designated health service" under Stark) that (iii) is paid for by a

 federally funded program (e.g., Medicare).

         234.    The Stark law prohibits an entity (i.e. Defendants) from presenting or causing to

 be presented claims to Medicare (or billing another individual, entity, or third party payer) for

 those referred services.

         235.    Physician referral for cardiac device implantation is an inpatient service.




                                                   40
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 42
                                                             Page
                                                               of 104
                                                                   43 of
                                                                      PageID:
                                                                         105 42




         236.    Similarly, physician referral for cardiac device interrogations qualify as outpatient

 hospital services.

         237.    Both are ''designated health services" under the Stark law.

         238.    Both cardiac device implantations and cardiac device interrogations are paid for

 by federally funded health care programs.

         239.    Defendants, through paid consulting agreements with doctors, paid stipends for

 sham research, and paid cardiology fellowships, violated the Stark law. Defendants paid these

 physicians exorbitant fees which far surpassed fair market value for those services rendered, in

 exchange for the recommendation and use of their respective cardiac devices.

         240.    The financial arrangements with physicians set forth in Relators' Complaint, do

 not fall within any of the Stark law exceptions.

         241.    Defendants are strictly liable for violating the Stark law. By reason of

 Defendants' violations of the Stark law, the United States suffered substantial losses in an

 amount to be proved at trial, and is therefore entitled to multiple damages and civil penalties, to

 be determined at trial.

                                           COUNT FOUR
                           Violations of the California False Claims Act
                               Ca. Government Code §12650 et seq.

         242.    Relators incorporate by reference and re-allege all of the foregoing paragraphs

 as if fully set forth herein.

         243.    This Count is brought by Relator I and Relator II in the name of the State of

 California under the qui tam provisions of the California False Claims Act, California

 Government Code § 1265 I (a) pursuant to which treble damages and civil penalties are sought.




                                                    41
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 43
                                                             Page
                                                               of 104
                                                                   44 of
                                                                      PageID:
                                                                         105 43




        244.     Defendants at all times relevant to this action each sold and promoted their

 respective CIEDs, and offered free technical services for their cardiac devices in the State of

 CaLifornia. ·

        245.     Cal. Gov't Code §l265l(a) provides liability for the costs of a civil action, a

 civil penalty of up to $10,000 and treble damages for all damages sustained by the state for any

 person who-

        (1)      knowingly presents, or causes to be presented, to an officer or employee of the
                 state or of any political subdivision thereof, a false claim for payment or
                 approval;
        (2)      knowingly makes, uses, or causes to be made or used a false record or statement
                 to get a false claim paid or approved by the state or any political subdivision;
        (3)      conspires to defraud the state or any political subdivision by getting a false
                 claim allowed or paid by the state or by any political subdivision;
        (4)      is a beneficiary of an inadvertent submission of a false claim, subsequently
                 discovers the falsity of the claim, and fails to disclose the false claim to the state
                 or the political subdivision within a reasonable time after discovery of the false
                 claim.

        246.     By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continue to cause

 to be submitted false or fraudulent claims for payment or approval, directly or indirectly, to

 officers, employees or agents of the State of California, for the global fee for cardiac device

 interrogation, along with other cardiac treatment.

        247.     Specifically, Defendants have:

        •        caused thousands of false claims to be presented to the State of California,

                 knowingly made, used or caused to be made or used false records to get false

                 claims paid,

                 conspired to defraud the state by getting false and fraudulent claims allowed or

                 paid; and,

                 failed to disclose the existence of the false claims it has caused to be presented.

                                                   42
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 44
                                                             Page
                                                               of 104
                                                                   45 of
                                                                      PageID:
                                                                         105 44




         248.    The amounts of the false or fraudulent claims to the State of California were

 material.

         249.    Plaintiff State of California, beir.g unaware of the falsity of the claims caused to

 be submitted by Defendants and in reliance on the accuracy thereof paid and continues to

 improperly pay doctors for the global fee for cardiac device interrogations, along with other

 cardiac treatment.

                                          COUNT FIVE
                               Colorado Medicaid False Claims Act
                                Colo. Rev. Stat.§ 25.5-1-104 et seq.

         250.    Relators incorporate by reference and re-allege all above paragraphs as if fully set

 forth herein.

         251.    This is a claim for treble damages and penalties under the Colorado Medicaid

 False Claims Act.

        252.     By virtue of the acts described above, Defendants knowingly presented or caused

 to be presented, false or fraudulent claims to the Colorado State Government for payment or

 approval.

        253.     By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce the

 Colorado State Government to approve and pay such false and fraudulent claims.

        254.     The Colorado State Government, unaware of the falsity of the records, statements

 and claims made, used, presented or caused to be made, used or presented by Defendants, paid

 and continues to pay the claims that would not be paid but for Defendants' illegal inducements

 and/or business practices.

        255.     By reason of the Defendants' acts, the State of Colorado has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                                                  43
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 45
                                                             Page
                                                               of 104
                                                                   46 of
                                                                      PageID:
                                                                         105 45




        256.    The State of Colorado is entitled to the maximum penalty of $10,000 for each and

 every false or fraudulent claim, record or statement made, used, presented or caused to be made,

 used or presented by Defendants.

                                         COUNT SIX
                                 Connecticut False Claims Act
                                Chapter 319v, Sec. 17b-301 et seq.

        257.    Relators restate and incorporate each and every allegation above as if the same

 were fully set forth herein.

        258.    This is a claim for treble damages and penalties under the Connecticut False

 Claims Act.

        259.    By virtue of the acts described above, Defendants knowingly presented or

 caused to be presented, false or fraudulent claims to the Connecticut Government for payment

 or approval.

        260.    By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce

 the Connecticut Government to approve and pay such false and fraudulent claims.

        261.    The Connecticut Government, unaware of the falsity of the records, statements

 and claims made, used, presented or caused to be made, used or presented by Defendants, paid

 and continues to pay the claims that would not be paid but for Defendants' illegal inducements

 and/or business practices.

        262.    By reason of the Defendants' acts, the State of Connecticut has been damaged,

 and continues to be damaged, in substantial amount to be determined at trial.

        263.    The State of Connecticut is entitled to the maximum penalty of $10,000 for each

 and every false or fraudulent claim, record or statement made, used, presented or caused to be

 made, used or presented by Defendants.

                                                44
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 46
                                                             Page
                                                               of 104
                                                                   47 of
                                                                      PageID:
                                                                         105 46




                                           COUNT SEVEN
                            Violations of the Delaware False Claims Act
                                      Del. Stat. Tit. VI. §1201

           264.   Relators incorporate by reference and re-allege all of the foregoing paragraphs

 as if fully set forth herein.

           265.   This Count is brought by Relator I and Relator II in the name of the State of

 Delaware under the qui tam provisions of the Delaware False Claims and Reporting Act,

 Delaware Statute Title VI, Section 1201.

           266.   Defendants at all times relevant to this action sold and marketed, and continue to

 sell and market, CIEDs in the State of Delaware. Defendants have provided and continue to

 provide free technical services in relation to interrogations performed on their respective CIEDs.

           267.   The Delaware False Claims and Reporting Act, 6 Del Code Ann. §120l(a)(l)

 provides for liability for any person who: knowingly presents or causes to be presented, directly

 or indirectly, to an officer or employee of the Government a false or fraudulent claim for

 payment or approval; ... shall be liable to the Government for a civil penalty of not less than

 $5,500 and not more than $11,000 for each act constituting a violation of this section, plus 3

 times the amount of the actual damages which the Government sustains because of the act of that

 person.

           268.   The Delaware False Claims and Reporting Act, 6 Del. C. §120l(a)(2) provides for

 liability for any person who: knowingly makes, uses or causes to be made or used, directly or

 indirectly, a false record or statement to get a false or fraudulent claim paid or approved; ... shall

 be liable to the Government for a civil penalty of not less than $5,500 and not more than $11,000

 for each act constituting a violation of this section, plus 3 times the amount of the actual damages

 which the Government sustains because of the act of that person.



                                                   45
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 47
                                                             Page
                                                               of 104
                                                                   48 of
                                                                      PageID:
                                                                         105 47




         269.      The Delaware False Claims and Reporting Act, 6 Del. C. § 1201 (a)(3), provides

 for liability for any person who: Conspires to defraud the Government by getting a false or

 fraudulent claim allowed or paid; ... shall be liable to the Government for :a civil penalty of not

 less than $5,500 and not more than $11,000 for each act constituting a violation of this section,

 plus 3 times the amount of the actual damages which the Government sustains because of the act

 of that person.

        270.       By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continues to cause

 to be submitted false or fraudulent claims for payment or approval, directly or indirectly, to

 officers, employees or agents of the State of Delaware, for the global fee for cardiac device

 interrogations of their respective CIEDs. Specifically, Defendants each have:

        •          caused thousands of false claims to be presented to the State of Delaware,

                   knowingly made, used or caused to be made or used false records to get false

 claims paid,

        •          conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

        •          failed to disclose the existence of the false claims it has caused to be presented.

        The amounts of the false or fraudulent claims to the State of Delaware were material.

        271.       Plaintiff State of Delaware, being unaware of the falsity of the claims caused to

 be submitted by the Defendants, and in reliance on the accuracy thereof paid and continues to

 pay the global fee for cardiac device interrogations rendered on their respective CIEDs, as well

 as for implantation of CIEDs as a result of kickbacks.




                                                    46
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 48
                                                             Page
                                                               of 104
                                                                   49 of
                                                                      PageID:
                                                                         105 48




                                             COUNT EIGHT
                                 District of Columbia False Claims Act
                                D.C. Code Ann.§ 2-308.14 (a)(l)-(3), (7)

        272.     Relators restate and incorporate each and every aHegation above as if the same

 were fully set forth herein.

        273.    This is a claim for treble damages and penalties under the District of Columbia

 False Claims Act.

        274.    By virtue of the acts described above, Defendants knowingly presented or caused

 to be presented, false or fraudulent claims to the District of Columbia Government for payment

 or approval.

        275.    By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce the

 District of Columbia Government to approve and pay such false and fraudulent claims.

        276.    By virtue of the acts described above, Defendants conspired with each other and

 with others to defraud the District of Columbia by inducing the District of Columbia

 Government to pay or approve false or fraudulent claims.

        277.    The District of Columbia Government, unaware of the falsity of the records,

 statements and claims made, used, presented or caused to be made, used or presented by

 Defendants, paid and continue to pay the claims that would not be paid but for Defendants'

 illegal inducements and/or business practices.

        278.    By reason of the Defendants' acts, the District of Columbia has been damaged,

 and continues to be damaged, in substantial amount to be determined at trial.




                                                  47
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 49
                                                             Page
                                                               of 104
                                                                   50 of
                                                                      PageID:
                                                                         105 49




         279.    The District of Columbia is entitled to the maximum penalty of$10,000 for each

 and every false or fraudulent claim, record or statement made, used, presented or caused to be

 made, used or presented by Defendaints.

                                            COUNT NINE
                              Violations of the Florida False Claims Act
                                       Fl. Stat. §§68.081-68.09

         280.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein.

         281.    This Count is brought by Relator I and Relator II in the name of the State of

 Florida under the qui tam provisions of Florida False Claims Act, Fl. Stat. §§68.081-68.09.

         282.    Defendants at all times relevant to this action sold and marketed, and continues to

 sell and market, CIEDs in the   Stat~   of Florida. Defendants have provided and continue to

 provide free technical services in relation to interrogations performed on their respective CIEDs

 in the State of Florida.

         283.    Fla. Stat§ 68.082(2)(a)-(c) provide liability for any person who-

         (a)     Knowingly prese.nts, or causes to be presented, to an officer or employee of an
                 agency, a false or fraudulent claim for payment or approval; ... Knowingly
                 makes, uses, or causes to be made or used, a false record or statement to get a
                 false or fraudulent claim paid or approved by an agency; ... is liable to the state
                 for a civil penalty of not less than $5,500 and not more than $11,000 and for
                 treble the amount of damages the agency sustains because of the act or omission
                 of that person.
         (b)     Knowingly makes, uses, or causes to be made or used, a false record or
                 statement to get a false or fraudulent claim paid or approved by an agency; ... is
                 liable to the state for a civil penalty of not less than $5,500 and not more than
                 $11,000 and for treble the amount of damages the agency sustains because of
                 the act or omission of that person.
         (c)     Conspires to submit a false claim to an agency or to deceive an agency for the
                 purpose of getting a false or fraudulent claim allowed or paid; ... is liable to the
                 state for a civil penalty of not less than $5,500 and not more than $11,000 and
                 for treble the amount of damages the agency sustains because of the act or
                 omission of that person.


                                                    48
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 50
                                                             Page
                                                               of 104
                                                                   51 of
                                                                      PageID:
                                                                         105 50




         284.    By virtue of the above-described acts, among others, Defendants caused to be

  presented false or fraudulent claims for payment or approval, and continue to cause to be

  submitted false ..or fraudulent claims for payment or approval, directly or indirectly, to officers,   ' I.';


  employees or agents of the State of Florida, for technical services rendered in connection with

  the follow-up interrogations rendered on their respective CIEDs.

         285.    Specifically, Defendants have:

         •       caused thousands of false claims to be presented to the State of Florida,

         •       knowingly made, used or caused to be made or used false records to get false

  claims paid,

         •       conspired to defraud the state by getting false and fraudulent claims allowed or

  paid; and,

                 failed hdisclose the existence of the false claims it has caused to be presented.

         286.    The amounts of the false or fraudulent claims to the State of Florida were

  material.

         287.    Plaintiff State of Florida, being unaware of the falsity of the claims caused to be

  submitted by Defendants, and in reliance on the accuracy thereof paid and continues to pay the

  global fee for cardiac device interrogations, as well as for implantation of CIEDs as a result of

  kickbacks.

                                         COUNT TEN
                   Violations of the Georgia State False Medicaid Claims Act,
                                    O.C.G.A. § 49-4-168 et seq.

         288.    Relators incorporate by reference and re-allege all of the foregoing paragraphs

 as if fully set forth herein.




                                                    49
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 51
                                                             Page
                                                               of 104
                                                                   52 of
                                                                      PageID:
                                                                         105 51




           289.   This is a qui tam action brought by brought by Relators I and Relators II and the

  State of Georgia to recover treble damages, civil penalties and the cost of this action, under the

 ·.·Georgia State False Medicaid Claims Act, O.C.G.A. § 49-4-168 et. seq.                               "   ~ I   I




           290.   Defendants at all times relevant to this action sold and marketed, and continue

  to sell and market, ClEDs in the State of Georgia. Defendants have provided and continue to

  provide free technical services in relation to interrogations performed on their respective

  ClEDs.

           291.   Georgia State False Medicaid Claims Act, O.C.G.A. § 49-4-168. l(a),

  specifically provides in part:

           (a) Any person who:
                  (1) Knowingly presents or causes to be presented to the Georgia Medicaid
                  program a false or fraudulent claim for payment or approval;
                  (2) Knowingly makes, uses, or causes to be made or used, a false record or
                  statement to get a false or fraudulent claim paid or approved by the Georgia
                  Medicaid program;
                  (3) Conspires to defraud the Georgia Medicaid program by getting a false or
                  fraudulent claim allowed or paid;
           ... shall be liable to the State of Georgia for a civil penalty of not less than $5,500.00
           and not more than $11,000.00 for each false or fraudulent claim, plus three times the
           amount of damages which the Georgia Medicaid program sustains because of the act of
           such person.

           292.   By virtue of the acts described above, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the Georgia State Government for payment or

 approval.

           293.   Specifically, Defendants each have:

                  caused thousands of false claims to be presented to the State of Georgia,

         •        knowingly made, used or caused to be made or used false records to get false

 claims paid;


                                                   50
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 52
                                                             Page
                                                               of 104
                                                                   53 of
                                                                      PageID:
                                                                         105 52




                conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

                failed to disclose the existence of the false claims it has caused to be presented.

        294.    For example, the global fee for Defendants' respective cardiac device

 interrogations would not have been billed by doctors but for Defendants' fraudulent concealment

 of billing information and encouragements to doctors. As a result of this illegal scheme, these

 claims were improper in whole pursuant to the Georgia State False Medicaid Claims Act.

        295.    By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used, false records and statements, and omitted material facts, to induce

 the government to approve and pay such false and fraudulent claims.

        296.    Each submission for reimbursement by a doctor for the global fee for cardiac

 device interrogation where the Defendants' technician performed some or all of the task, as

 opposed to the doctor, was submitted as a result of Defendants' illegal marketing practices and

 represents a false or fraudulent record or statement. Each claim for reimbursement for such

 services submitted to a State-funded health insurance program represents a false or fraudulent

 claim for payment.

        297.   Relators cannot at this time identify all of the false claims for payment that were

 caused by Defendants' conduct. The false claims were presented by thousands of separate

 entities, and doctors, and over many years.

        298.   The Georgia State Government, unaware of the falsity of the records,

 statements, and claims made, or caused to be made by Defendants, paid and continues to pay

 the claims that would not be paid but for Defendants' false and illegal conduct.




                                                 51
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 53
                                                             Page
                                                               of 104
                                                                   54 of
                                                                      PageID:
                                                                         105 53




        299.    By reason of Defendants' acts, the Georgia State Government has been

 damaged, and continues to be damaged, in substantial amounts to be determined at trial.

        300.    Georgia is en ti tied to the maximum penalty for ,each and every false or

 fraudulent claim, record, or statement made, used, presented, or caused to be niade, used, or

 presented by each Defendant.

        301.    Defendants did not, within a reasonable period of time after first obtaining

 information as to such violations, furnish such information to officials of the State responsible

 for investigating false claims violations, did not otherwise fully cooperate with any

 investigation of the violations, and have not otherwise furnished information to the State

 regarding the claims for reimbursement at issue.

        302.    Relator I and Relator II are each private persons with direct and independent

 knowledge of the allegations in this Complaint, who have brought this action pursuant to

 Georgia State False Medicaid Claims Act on behalf of themselves and the State of Georgia.

        303.    This Court is requested to accept supplemental jurisdiction of this related state

 claim as it is predicated upon the exact same facts as the federal claim; and merely asserts

 separate damage to the State of Georgia in the operation of its Medicaid program.

                                        COUNT ELEVEN
                           Violations of the Hawaii False Claims Act
                                Haw. Rev. Stat. §661-21 et seq.

        304.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein. This Count is brought by Relators in the name of the State of Hawaii

 under the qui tam provisions of Hawaii False Claims Act, Haw. Rev. Stat. §661-21 et seq.

        305.    Defendants at all times relevant to this action sold and marketed, and continue to

 sell and market, CIEDs in the State of Hawaii. Defendants have provided and continue to

 provide free technical services in relation to interrogations performed on their respective CIEDs.

                                                 52
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 54
                                                             Page
                                                               of 104
                                                                   55 of
                                                                      PageID:
                                                                         105 54




         306.   The Hawaii False Claims Act, Haw. Rev. Stat§ 661-2l(a)(l)-(3) specifically

 provides that any person who:

        ( 1)    Knowingly presents, or causes to be presented, to an officer or employee of the
                State a false or fraudulent claim for payment or approval; ...
        (2)     Knowingly makes, uses, or causes to be made or used, a false record or
                statement to get a false or fraudulent claim paid or approved by the State; ...
        (3)     Conspires to defraud the State by getting a false or fraudulent claim allowed or
                paid; ...

         *      *       *
        Shall be liable to the State for a civil penalty of not less than $5,000 and not more than
        $10,000, plus three times the amount of damages that the state sustains due to the act of
        that person.

        307.    By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continues to cause

 to be submitted false or fraudulent claims for payment or approval, directly or indirectly, to

 officers, employees or agents of the State of Hawaii.

        308.    Specifically, Defendants each have:

                caused thousands of false claims to be presented to the State of Hawaii,

                knowingly made, used or caused to be made or used false records to get false

 claims paid,

                conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

                failed to disclose the existence of the false claims it has caused to be presented.

        309.    The amounts of the false or fraudulent claims to the State of Hawaii were

 material.

        310.    Plaintiff State of Hawaii, being unaware of the falsity of the claims caused to be

 submitted by Defendants, and in reliance on the accuracy thereof paid and continues to pay for


                                                  53
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 55
                                                             Page
                                                               of 104
                                                                   56 of
                                                                      PageID:
                                                                         105 55




 improper claims for reimbursement for the global fee for cardiac device interrogations, as well

 as for CIEDs implanted as a result of paid kickbacks.

                               ,,   ''·   1ClOUNTTWELVE
                 Violations of the Illinois Whistleblower Reward and Protection Act
                                         740 ILCS 175/1 et seq.

          311.     Relators incorporate by reference and re-allege al 1 of the foregoing paragraphs

 as if fully set forth herein. This Count is brought by Relator I and Relator II in the name of the

 State of Illinois under the qui tam provisions of 740 ILCS 175/4 for Defendant's violation of

 740 ILCS 175/3.

          312.     Defendants at all times relevant to this action sold and marketed, and continue

 to sell and market, CIEDs in the State of Illinois. Defendants have provided and continue to

 provide free technical services in relation to interrogations performed on their respective

 CIEDs.

          313.     The Illinois Whistleblower Reward and Protection Act, 740 Ill. Comp. Stat.

 § 175/3 (a)(! )-(3), specifically provide that any person who:

          (I)      Knowingly presents, or causes to be presented, to an officer or employee of the
                   State or member of the Guard a false or fraudulent claim for payment or
                   approval; ...
          (2)      Knowingly makes, uses or causes to be made or used, a false record or statement
                   to get a false or fraudulent claim paid or approved by the State; ...
          (3)      Conspires to defraud the State by getting a false or fraudulent claim allowed or
                   paid; ...
                   (a)    is liable to State for civil penalty of not less than $5,500 and not more
                          than $11,000, plus 3 times the amount of damages which the State
                          sustains because of the act of that person.

          314.     By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continues to cause




                                                   54
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 56
                                                             Page
                                                               of 104
                                                                   57 of
                                                                      PageID:
                                                                         105 56




 to be submitted false or fraudulent claims for payment or approval, directly or indirectly, to

 officers, employees or agents of the State of Illinois.

         315     Specifieally, Defendants each have:

                 caused thousands of false claims to be presented to the State of lllinois,

                 knowingly made, used or caused to be made or used false records to get false

 claims paid,

                 conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

                 failed to disclose the existence of the false claims it has caused to be presented.

         316.    The amounts of the false or fraudulent claims to the State of Illinois were

 material.

         317.    Plaintiff State of Illinois, being unaware of the falsity of the claims caused to be

 submitted by the Defendants, and in reliance on the accuracy thereof, paid and continues to pay

 for improper claims for reimbursement for the global fee for cardiac device interrogations, as

 well as CIEDs implanted as a result of paid kickbacks.

                                      COUNT THIRTEEN
                 Violations of the Indiana False Claims and Whistleblower Act
                                        IC 5-11-5.5 et seq.

         318.    Relators incorporate by reference and re-allege all of the foregoing paragraphs

 as if fully set forth herein.

         319.    This Count is brought by Relator I and Relator II in the name of the State of

 Indiana under the qui tam provisions of IC 5-11-5.5-4, for the Defendants' violations of IC 5-

  11-5.5-2.

         320.    Defendants at all times relevant to this action sold and marketed, and continue

 to sell and market, CIEDs in the State of Illinois. Defendants have provided and continue to

                                                   55
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 57
                                                             Page
                                                               of 104
                                                                   58 of
                                                                      PageID:
                                                                         105 57




 provide free technical services in relation to interrogations performed on their respective

 CIEDs.

· . ·t·--'i   321.   The Indiana False Claims and Whistleblower Act, Ind. Code§ 5-l l-5.5-2(b)

 (2008), specifically provides that by engaging in certain acts a person commits an unlawful act

 and shall be liable to the state for civil penalties of at least $5,000 and for up to three times the

 amount of damages that the state sustains because of the act of that person, including:

              (1)    Presents a false claim to the state for payment or approval; or
              (2)    making or using a false record or statement to obtain payment or approval of a
                     false claim from the state; ... or
                     1.     conspiring with another person to perform an act described above; or
              Causing or inducing another person to perform an act described [above).

              322.   Through the acts described above and otherwise, Defendants knowingly caused to

 be presented for payment and approval to the Indiana Medicaid program, possibly continues to

 cause to be presented, directly or indirectly, to officers, employees or agents of the State of

 Indiana, false and fraudulent claims in order to induce Medicaid reimbursement for the global

 fee for cardiac device interrogations, as well as for implantation of CIEDs generally.

              323.   Specifically, Defendants each have:

                     caused thousands of false claims to be presented to the State of Indiana,

                     knowingly made, used or caused to be made or used false records to get false

 claims paid,

                     conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

                     failed to disclose the existence of the false claims it has caused to be presented.

              324.   As a result, Plaintiff Indiana reimbursed Medicare and Medicaid participating

 providers for ineligible claims, resulting in material financial losses to the State of Indiana.


                                                      56
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 58
                                                             Page
                                                               of 104
                                                                   59 of
                                                                      PageID:
                                                                         105 58




         325.     Plaintiff State of Indiana, unaware of the falsity of the claims caused to be

 presented by Defendants, and in reliance on the accuracy thereof, have paid and approved, and

 continue to pay and approve, claims t11at would not have been paid or approved in any part if the

 truth were known.

         326.     By reason of Defendants' wrongful conduct, Indiana has suffered substantial

 losses in an amount to be proved at trial, and therefore is entitled to multiple damages under the

 State's false claims act in an amount to be determined at trial, plus civil penalties for each such

 false statement caused to be made by Defendants.

                                       COUNT FOURTEEN
                                  Iowa Medicaid False Claims Act
                                   Iowa Code Ann. §685.1 et seq.

         327.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein.

         328.    This is a claim for treble damages and penalties against all Defendants on behalf

 of the State of Iowa under the Iowa Medicaid False Claims Act, Iowa Code §685. l et seq.

         329.    By virtue of the above-described acts, Defendants knowingly made or caused to

 be made false claims for Defendants drugs to the State of Iowa.

         330.    By virtue of the above-described acts, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce the

 State of Iowa to approve and pay such false and fraudulent claims.

         331.    The Iowa State Government, unaware of the falsity of the records, statements and

 claims made, used, presented or caused to be made, used or presented by Defendants, paid and

 continues to pay the claims that would not be paid but for Defendants' illegal inducements

 and/or business practices.



                                                   57
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 59
                                                             Page
                                                               of 104
                                                                   60 of
                                                                      PageID:
                                                                         105 59




         332.    By reason of the Defendants' unlawful acts, the State of Iowa has been damaged,

 and continues to be damaged, in substantial amount to be determined at trial.

         333.    The   S~at.:i   of Iowa is entitled to the maximum :penalty of $10,000 for each and

 every false or fraudulent claim, record or statement made, used, presented or caused to be made,

 used or presented by defendants plus treble damages.

                                        COUNT FIFTEEN
                         Violations of the Louisiana Medical Assistance
                     Programs Integrity Law Louisiana Rev. Stat. §437 et seq.

         334.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein.

         335.    This Count is brought by Relator I and Relator II in the name of the State of

 Louisiana under the qui tam provisions of the Louisiana· Medical Assistance Programs Integrity

 Law, Louisiana Rev. Stat. §437 et seq.

         336.    Defendants at all times relevant to this action sold and marketed, and continue to

 sell and market, CIEDs in the State of Illinois. Defendants have provided and continue to

 provide free technical services in relation to cardiac device interrogations performed on their

 respective CIEDs.

         337.    The Louisiana False Claims Act/Medical Assistance Programs Integrity Law, La.

 Rev. Stat. § 46-438.3 provides:

         (A)     No person shall knowingly present or cause to be presented a false or fraudulent
                 claim.
         (B)     No person shall knowingly engage in misrepresentation to obtain, or attempt to
                 obtain, payment from medical assistance program funds;
         (C)     No person shall knowingly make, use, or cause to be made or used, a false
                 record or statement to conceal, avoid, or decrease an obligation to pay or
                 transmit money or property to the medical assistance programs.




                                                       58
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 60
                                                             Page
                                                               of 104
                                                                   61 of
                                                                      PageID:
                                                                         105 60




         338.     By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continue to cause

 to be·submitted false or fraudulent:claims,for'payme:i.t or approval, directly or indirectly, to

 officers, employees or agents of the State of Louisiana.

         339.    Specifically, Defendants each have:

                 caused thousands of false claims to be presented to the State of Louisiana,

                 knowingly made, used or caused to be made or used false records to get false

 claims paid,

         •       conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

                 failed to disclose the existence of the false claims it has caused to be presented.

         340.    The amounts of the false or fraudulent claims to the State of Louisiana were

 material.

         341.    Plaintiff State of Louisiana, being unaware of the falsity of the claims caused to

 be submitted by Defendants, and in reliance on the accuracy thereof paid and continue to pay

 for claims that would not have been paid or approved in any part if the truth were known.

                                         COUNT SIXTEEN
                            Maryland False Health Claims Act of 2010
                      Subtitle 6, False Claims Against State Health Plans and
                               State Health Programs, § 2-601 et seq.

         342.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein.

         343.    This is a claim for treble damages and penalties under the Maryland False Health

 Claims Act of 2010, Subtitle 6.




                                                   59
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 61
                                                             Page
                                                               of 104
                                                                   62 of
                                                                      PageID:
                                                                         105 61




         344.     By virtue of the acts described above, Defendants knowingly presented or caused

 to be presented, false or fraudulent claims to the Maryland State Government for payment or

 approval.             · , ;,    ! ,,



         345.    By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce the

 Maryland State Government to approve and pay such false and fraudulent claims.

         346.    The Maryland State Government, unaware of the falsity of the records, statements

 and claims made, used, presented or caused to be made, used or presented by Defendants, paid

 and continues to pay the claims that would not be paid but for Defendants' illegal business

 practices.

         34 7.   By reason of the Defendants' acts, the State of Maryland has been damaged, and

 continues to be damaged, in a substantial amount to be determined at trial.

         348.    The State of Maryland is entitled to the maximum penalty of $10,000 for each and

 every false or fraudulent claim, record or statement made, used, presented or caused to be made,

 used or presented by Defendants.

                                       COUNT SEVENTEEN
                          Violations of the Massachusetts False Claims Act
                                Massachusetts Gen. Laws c.12 §5(A)

         349.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein.

         350.    Relators incorporate by reference and re-allege all of the foregoing paragraphs

 as if fully set forth herein.

         351.    This Count is brought by Relator I and Relator II in the name of the State of

 Massachusetts under the qui tam provisions of the Massachusetts False Claims Act,

 Massachusetts Gen. Laws c.12 §5(A).

                                                 60
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 62
                                                             Page
                                                               of 104
                                                                   63 of
                                                                      PageID:
                                                                         105 62




          352.    Defendants at all times relevant to this action sold and marketed, and continue

 to sell and market, CIEDs in the State of Illinois. Defendants have provided and continue to

 provide free technical services in relation to interrogations   perform~d   on their respective

 CIEDs.

          353.    The Massachusetts False Claims Act, Mass. Gen. Laws Ann. chap. 12, §5(8)( I)-

 (3 ), provides in part, that any person who:

          ( 1)    knowingly presents, or causes to be presented, a false or fraudulent claim for
                  payment; ...
          (2)    knowingly makes, uses, or causes to be made or used, a false record or
                 statement to obtain payment or approval of a claim by the commonwealth or any
                 political subdivision thereof; ...
          (3)    conspires to defraud the commonwealth or any political subdivision thereof
                 through the allowance or payment of a fraudulent claim; ...

          *       *      *
        shall liable to the commonwealth or political subdivision for a civil penalty of not less
        than $5,000 and not more than $10,000 per violation, plus three times the amount of
        damages, including consequential damages, that the commonwealth or political
        subdivision sustains because of the act of that person.

        354.     By virtue of the above-described acts, among others, Defendants knowingly

· caused to be presented false or fraudulent claims for payment or approval, and continue to cause

 to be submitted false or fraudulent claims for payment or approval, directly or indirectly, to

 officers, employees or agents of the Commonwealth of Massachusetts.

        355.     Specifically, Defendants each have:

        •        caused thousands of false claims to be presented to the Commonwealth of

 Massachusetts,

                 knowingly made, used or caused to be made or used false records to get false

 claims paid,




                                                  61
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 63
                                                             Page
                                                               of 104
                                                                   64 of
                                                                      PageID:
                                                                         105 63




                  conspired to defraud the state by getting false and fraudulent claims allowed or

  paid; and,

                  failed to disclose the existence of the false claifiis it has caused to be presented.

           356.   The amounts of the false or fraudulent claims to the State of Massachusetts were

 material.

           357.   Plaintiff Commonwealth of Massachusetts, being unaware of the falsity of the

 claims caused to be submitted by the Defendants' conspiracies and in reliance on the

 accuracies thereof, paid for claims that would not have been paid or approved in any part if the

 truth were known.

                                       COUNT EIGHTEEN
                      Violations of the Michigan Medicaid False Claims Act
                                      M.C.L.A. 400.601 et seq.



           358.   Relators incorporate by reference and re-allege all of the foregoing paragraphs

 as if fully set forth herein.

           359.   This Count is brought by Relator I and Relator II in the name of the State of

 Michigan under the qui tam provisions of the Michigan False Claims Act, M.C.L.A. 4000.601

 et seq.

           360.   Defendants at all times relevant to this action sold and marketed, and continue

 to sell and market, their respective CIEDs in the State of Michigan.

           361.   Through the acts described above and otherwise, Defendants knowingly caused

 to be presented for payment and approval to the Michigan Medicaid and/or Medicare

 programs, and continues to cause to be presented, false and fraudulent claims, directly or

 indirectly, to officers, employees or agents of the State of Michigan, in order to induce



                                                    62
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 64
                                                             Page
                                                               of 104
                                                                   65 of
                                                                      PageID:
                                                                         105 64




  Medicaid and/or Medicare to pay the global fee for cardiac device interrogations, as well as for

  implantation of CIEDs generally.

         362.   Through the acts described acJve and otherwise, Defendants; knowingly caused

  to be made or used, and continue to cause to be used or made, false and fraudulent records

  and/or statements, in order to get claims paid by Medicaid and/or Medicare that were not

  eligible for reimbursement.

         363.   Specifically, Defendants each have:

                •       caused thousands of false claims to be presented to the State of

         Michigan,

                        knowingly made, used or caused to be made or used false records to get

         false claims paid,

                        conspired to defraud the state by getting false and fraudulent claims

         allowed or paid; and,

                •       failed to disclose the existence of the false claims it has caused to be

         presented.

         364.   The amounts of the false or fraudulent claims caused to be made to the State of

  Michigan were material.

         365.   Plaintiff State of Michigan, unaware of the falsity of the claims caused to be

 presented by Defendants, and in reliance on the accuracy thereof, have paid and approved, and

 continue to pay and approve, claims that would not have been paid or approved in any part if the

 truth were known.

         366.   By reason of Defendants' wrongful conduct, Michigan has suffered substantial

 financial losses in an amount to be proved at trial, and therefore is entitled to multiple damages



                                                  63
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 65
                                                             Page
                                                               of 104
                                                                   66 of
                                                                      PageID:
                                                                         105 65




  under the False Claims Act, to be determined at trial, plus the maximum allowable civil penalties

  for each such false statement and each false claim caused to made or used by each Defendant.

                          . ·      COUNT NINETEEN
  Violations of Michigan Public Acts, 1977 PA 72, as amended by 1984 PA 333, as amended
                        by 2005 PA 337, as amended by 2008 PA 421

          367.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

  if fully set forth herein.

          368.    This is a claim for treble damages and penalties under the Michigan Medicaid

  False Claims Act brought by Relator I and Relator II on behalf of themselves and the State of

  Michigan.

          369.    By virtue of the acts described above, Defendants have violated the Michigan

  Medicaid False Claims Act.

          370.    Specifically, Defendants each have:

          •       caused thousands of false claims to be presented to the State of Michigan,

          •       knowingly made, used or caused to be made or used false records to get false

  claims paid,

                  conspired to defraud the state by getting false and fraudulent claims allowed or

  paid; and,

                  failed to disclose the existence of the false claims it has caused to be presented.

          371.    For example, claims for reimbursement of the technical component of cardiac

  device interrogations would not have been presented but for the illegal encouragement and

  concealment by Defendants. As a result of this illegal scheme, these claims were improper in

  whole pursuant to the State of Michigan's False Medicaid Claims Act.




                                                   64
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 66
                                                             Page
                                                               of 104
                                                                   67 of
                                                                      PageID:
                                                                         105 66




         372.    By virtue of the acts described above, Defendants knowingly made, used, or

  caused to be made or used, false records and statements, and omitted material facts, to induce the

  governmwt to approve, and pay swch ,false and fraudulent claims.

         373.    Each payment for the global fee for cardiac device interrogations, as well as

  payments for CIEDs implanted as a result of company kickbacks, resulting from Defendants'

  illegal marketing practices represents a false or fraudulent record or statement. Each claim for

  reimbursement submitted to a State-funded health insurance program represents a false or

  fraudulent claim for payment.

         374.    Relators cannot at this time identify all of the false claims for payment that were

  caused by Defendants' conduct. The false claims were presented by thousands of separate

  entities, and over many years.

         375.    The Michigan State Government, unaware of the falsity of the records,

  statements, and claims made, or caused to be made by Defendants, paid and continues to pay the

  claims that would not be paid but for Defendants' false and illegal conduct.

         376.    By reason of Defendants' acts, the Michigan State Government has been

  damaged, and continues to be damaged, in substantial amounts to be determined at trial.

         377.    The State of Michigan is entitled to the maximum penalty for each and every false

  or fraudulent claim, record, or statement made, used, presented, or caused to be made, used, or

  presented by each Defendant.

         378.    Defendants did not, within a reasonable period of time after first obtaining

  information as to such violations, furnish such information to officials of the State responsible

  for investigating false claims violations, did not otherwise fully cooperate with any investigation




                                                   65
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 67
                                                             Page
                                                               of 104
                                                                   68 of
                                                                      PageID:
                                                                         105 67




 of the violations, and have not otherwise furnished information to the State regarding the claims

 for reimbursement at issue.

  · .. :. . ,]791. ·· Relator I and Relator II are private persons with direct and independent

 .knowledge of the allegations in this Complaint, who have brought this action pursuant to

 Michigan's False Claims Act on behalf of themselves and the State of Michigan.

         380.    This Court is requested to accept supplemental jurisdiction of this related state

 claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

 separate damage to the State of Michigan in the operation of its Medicaid program.

                                       COUNT TWENTY
                                    Minnesota False Claims Act
                                    Minn. Stat. § 15C.01 et seq.

        .381.    Relators incorporate by reference and re-allege all above paragraphs as if fully set

 forth herein.

         382.    This is a claim for treble damages and penalties under the Minnesota False

 Claims Act.

        383 .. By virtue of the acts described above, Defendants knowingly presented or

 caused to be presented, false or fraudulent claims to the Minnesota State Government for

 payment or approval.

         384.    By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce

 the Minnesota State Government to approve and pay such false and fraudulent claims.

        385.     The Minnesota State Government, unaware of the falsity of the records,

 statements and claims made, used, presented or caused to be made, used or presented by

 Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

 illegal inducements and/or business practices.

                                                    66
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 68
                                                             Page
                                                               of 104
                                                                   69 of
                                                                      PageID:
                                                                         105 68




          386.     By reason of the Defendants' acts, the State of Minnesota has been damaged,

  and continues to be damaged, in substantial amount to be determined at trial.

          .387.   The State of Minnesota is entitled to the waximum per1alty of $11,000 for each

  and every false or fraudulent claim, record or statement made, used, presented or caused to be

  made, used or presented by Defendants.

                                       COUNT TWENTY-ONE
                               Violations of the Montana False Claims Act
                               2005 Mont. Code, CH. 465, HB 146, et seq.

          388.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

  if fully set forth herein.

          389.    This Count is brought by Relator I and Relator II in the name of the State of

  Montana under the qui tam provisions of the Montana False Claims Act, 2005 Mont. Code,

  CH. 465, HB 146, et seq.

          390.    Defendants at all times relevant to this action sold and marketed, and continue

  to sell and market, their respective CIEDs in the State of Montana.

          391.    The Montana False Claims Act, Mont. Code Ann., § 17-8-403 provides for

  liability for inter alia any person who engages in any or all of the following conduct:

          (a)     knowingly presenting or causing to be presented to an officer or employee of the
                  governmental entity a false claim for payment or approval;
          (b)     knowingly making, using, or causing to be made or used a false record or
                  statement to get a false claim paid or approved by the governmental entity;
          (c)     conspiring to defraud the governmental entity by getting a false claim allowed
                  or paid by the governmental entity; ... or
          (h)     as a beneficiary of an inadvertent submission of a false claim to the
                  governmental entity, subsequently discovering the falsity of the claim and
                  failing to disclose the false claim to the governmental entity within a reasonable
                  time after discovery of the false claim.




                                                  67
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 69
                                                             Page
                                                               of 104
                                                                   70 of
                                                                      PageID:
                                                                         105 69




        392.    By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continue to cause

 to be submitted false or fraudulent claims for paymer.t or approval, directly or indirectly, to

 officers, employees or agents of the State of Montana.

        393.    Specifically, Defendants each have:

                caused thousands of false claims to be presented to the State of Montana,

                knowingly made, used or caused to be made or used false records to get false

 claims paid,

        •       conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

        •       failed to disclose the existence of the false claims it has caused to be presented.

        394.    The amounts of the false or fraudulent claims Defendants caused to be made to

 the State of Montana were material.

        395.    Plaintiff State of Montana, being unaware of the falsity of the claims caused to

 be submitted by the Defendants and in reliance on the accuracy thereof paid and may continue

 to pay for improperly submitted claims for reimbursement for the global fee for cardiac device

 interrogations, as well as cardiac devices prescribed and implanted due to Defendants' illegal

 kickbacks.

        396.    At all times relevant to the Complaint, Defendants each acted with the requisite

 knowledge.

        397.    By virtue of the above-described acts, among others, Defendants knowingly

 engaged in conspiracies to defraud the Government of Montana by getting false claims allowed

 or paid by the government.



                                                  68
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 70
                                                             Page
                                                               of 104
                                                                   71 of
                                                                      PageID:
                                                                         105 70




         398.    As a direct and proximate consequence of Defendants' conspiratorial conduct,

 the State of Montana has suffered significant, material financial damages in an amount to be

 proved at trial. .

         399.    The State of Montana would not have suffered these devastating losses had the

 truth about Defendants' illegal practices and marketing conspiracies been known.

                                     COUNT TWENTY-TWO
                             Violations of the Nevada False Claims Act
                                 Nevada Rev. Stat. §357.010 et seq.

         400.    Relators incorporate by reference and re-allege all of the foregoing paragraphs

 as if fully set forth herein.

         40 I.   This Count is brought by Relator I and Relator II in the name of the State of

 Nevada under the qui tam provisions of Nevada Rev. Stat. §357.010 et seq., "Submission of

 False Claims to State or Local Government."

         402.    Defendants at all times relevant to this action sold and marketed, and continue

 to sell and market, their respective CIEDs in the State of Nevada.

         403.    Through the acts described above and otherwise, Defendants knowingly caused

 to be presented for payment and approval to the Nevada Medicaid program, possibly continues

 to cause to be presented, directly or indirectly, to officers, employees or agents of the State of

 Nevada, false and fraudulent claims in order to induce Medicaid reimbursement for the global

 fee for cardiac device interrogations of their respective CIEDs, as well as for cardiac devices

 prescribed and implanted as a result of kickbacks.

         404.    Specifically, Defendants each have:

                 caused thousands of false claims to be presented to the State of Nevada,

                 knowingly made, used or caused to be made or used false records to get false

 claims paid,

                                                 69
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 71
                                                             Page
                                                               of 104
                                                                   72 of
                                                                      PageID:
                                                                         105 71




                   conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

                   failed to disclose the existence of the false claims it has caused to be presented.

            405.   At all times relevant and material to this Complaint, Defendants knowingly

 caused false claims for payment or approval to be presented to officers and employees of the

 federal and state governments. As a result, the federal and state governments reimbursed

 Medicare and Medicaid, resulting in great financial loss to the Nevada government.

            406.   By virtue of the above-described acts, among others, Defendants each

 knowingly caused to be made or used and continue to cause to be made or used false or

 fraudulent statements to get claims allowed or paid by the State of Nevada.

            407.   The amounts of the false or fraudulent claims and statements caused to be made

 by Defendants to the State of Nevada were material.

            408.   Plaintiff State ofNevada, being unaware of the falsity of the claims and/or

 statements caused to be made or used by Defendants, and in reliance on the accuracy thereof

 paid and continues to pay for Defendants' technical services rendered to doctors, as well as for

 implantation of cardiac devices resulting from illegal kickbacks.

                                     COUNT TWENTY-THREE
                         Violations of the New Hampshire False Claims Act
                                           167:61-b et. seq.

            409.   Re Jato rs incorporate by reference and re-allege all of the foregoing paragraphs as

 if fully set forth herein.

            410.   This Count is brought by Relator I and Relator II in the name of the State of

 New Hampshire under the qui tam provisions of New Hampshire False Claims Act, 167:61-b

 et. seq.



                                                    70
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 72
                                                             Page
                                                               of 104
                                                                   73 of
                                                                      PageID:
                                                                         105 72




         411.    Defendants at all times relevant to this action sold and marketed, and continue

  to sell and market, their respective CIEDs in the State of New Hampshire.

         412.    Through the acts described above and otherwise, Defendants each knowing'.y

  caused to be presented for payment and approval to the New Hampshire Medicaid and

  Medicare programs, and continues to cause to be presented, false and fraudulent claims,

  directly or indirectly, to officers, employees or agents of the State of New Hampshire, to

  induce Medicaid and/or Medicare reimbursement for claims for the global fee for cardiac

  device interrogations, as well as the implantation of their respective medical devices which

  were done as a result of illegal kickbacks.

         413.    Through the acts described above and otherwise, Defendants knowingly caused

  to be made or used, and continue to cause to be made or used, false and fraudulent records

  and/or statements, in order to get claims allowed or paid by Medicaid and/or Medicare, that

  were not eligible for any such reimbursement.

         414.    Specifically, Defendant has:

         •       caused thousands of false claims to be presented to the State of New Hampshire,

                 knowingly made, used or caused to be made or used false records to get false

  claims paid,

                 conspired to defraud the state by getting false and fraudulent claims allowed or

  paid; and,

                 failed to disclose the existence of the false claims it has caused to be presented.

         415.    The amounts of the false or fraudulent claims to the State of New Hampshire were

  material.




                                                  71
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 73
                                                             Page
                                                               of 104
                                                                   74 of
                                                                      PageID:
                                                                         105 73




          416.    Plaintiff State of New Hampshire, unaware of the falsity of the claims presented

  or caused to be presented by Defendants, and in reliance on the accuracy thereof, have paid and

 . approved, and continue to pay and approve, claims for the global fee .for cardiac device            ·   1




  interrogations, as well as claims for Defendants' cardiac devices that were implanted as a result

  of illegal kickbacks.

          417.    By reason of Defendants' wrongful conduct, New Hampshire has suffered

  substantial losses in an amount to be proved at trial, and therefore is entitled to multiple

  damages under the False Claims Act, to be determined at trial, plus the maximum penalties for

  each such false statement caused to be made or used by each Defendant and each such false

  claim caused to be submitted by each Defendant.

                                     COUNT TWENTY-FOUR
                           Violations of the New Jersey False Claims Act,
                                       N.J. STAT.§ 2A:32C-1

          418.    Plaintiff incorporates by reference and re-alleges all of the foregoing paragraphs

  as if fully set forth herein.

          419..   This is a qui tam action brought by Relator I and. Relator II ir1 the State of New

  Jersey to recover treble damages, civil penalties and the cost of this action, under the New

  Jersey False Claims Act.

          420.    Defendants have and continue to engage in a continuous practice of causing to

  be submitted reimbursement requests for the global fee for cardiac device interrogations, as

  well as submissions for claims for implantation of their respective devices due to illegal

  kickbacks, with the result that it has: (a) knowingly presented and caused to be presented, to an

  officer and employee of the State of New Jersey, false and fraudulent claims for payment and

  approval; and (b) has knowingly made, used, and caused to be made and used, false records



                                                  72
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 74
                                                             Page
                                                               of 104
                                                                   75 of
                                                                      PageID:
                                                                         105 74




  and statements to get false and fraudulent claims paid and approved by the State of New

  Jersey.

            421.   The New J€rsey False Claim    A~t   prohibits any person from:

            ( l)   Knowingly presenting, or causing to be presented, to an officer or employee of
                   the state or a member of the guard a false or fraudulent claim for payment or
                   approval;
            (2)    Knowingly making, using, or causing to be made or used, a false record or
                   statement to get a false or fraudulent claim paid or approved by the state;
            (3)    Conspiring to defraud the state by getting a false or fraudulent claim allowed or
                   paid.

            422.   Defendants knowingly and intentionally caused to be made false statements and

  misrepresentations of material facts on applications for payment under the New Jersey Medicaid

  program, claims which failed to disclose the material violations of the New Jersey False Claims

  Act.

            423.   Defendants knowingly and intentionally caused to be made false statements and

  misrepresentations of material facts on applications for payment under the New Jersey

  Medicaid program, claims which failed to disclose the material violations of the New Jersey

  False Claims Act.

            424.   Specifically, Defendants each have:

                   Caused thousands of false claims to be presented to the State of New Jersey,

                   knowingly made, used or caused to be made or used false records to get false

  claims paid,

                   conspired to defraud the state by getting false and fraudulent claims allowed or

  paid; and,

                   failed to disclose the existence of the false claims it has caused to be presented.




                                                    73
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 75
                                                             Page
                                                               of 104
                                                                   76 of
                                                                      PageID:
                                                                         105 75




         425.    For example, claims for reimbursement for the global fee for cardiac device

  interrogations would not have been presented but for the illegal encouragement and concealment

  by Defendants. As a result cf this illegal scheme, these claims were improper in whole pursuant

  to the State of New Jersey False Claims Act.

         426.    By virtue of the acts described above, Defendants knowingly made, used, or

  caused to be made or used, false records and statements, and omitted material facts, to induce

  the government to approve and pay such false and fraudulent claims.

         427.   Each submission for reimbursement by a doctor for the global fee for cardiac

  device interrogation that was performed by Defendants' technicians in whole or in part

  represents a false or fraudulent record or statement. Each claim for reimbursement for such

  services submitted to a State-funded health insurance program represents a false or fraudulent

  claim for payment. Also, any claims submitted for cardiac devices as a result of direct

  kickbacks paid by Defendants represent a false or fraudulent claim for payment.

         428.   Relators cannot at this time identify all of the false claims for payment that were

  caused by Defendants' conduct. The false claims were presented by thousands of separate

  entities, and over many years.

         429.   The New Jersey State Government, unaware of the falsity of the records,

  statements, and claims made, or caused to be made by Defendants, paid and continues to pay

 the claims that would not be paid but for Defendants' illegal conduct.

         430.   By reason of Defendants' acts, the New Jersey Government has been damaged,

 and continues to be damaged, in substantial amounts to be determined at trial.




                                                 74
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 76
                                                             Page
                                                               of 104
                                                                   77 of
                                                                      PageID:
                                                                         105 76




          431.     New Jersey is entitled to the maximum penalty for each and every false or

  fraudulent claim, record, or statement made, used, presented, or caused to be made, used, or

  presented ~'Jy each Defendant.

          432.     Defendants did not, within a reasonable period of time after first obtaining

  information as to such violations, furnish such information to officials of the State responsible

  for investigating false claims violations, did not otherwise fully cooperate with any

  investigation of the violations, and have not otherwise furnished information to the State

  regarding the claims for reimbursement at issue.

          433.     Relators I and Relators II each are private persons with direct and independent

  knowledge of the allegations in this Complaint, who have brought this action pursuant to the

  New Jersey False Claims Act on behalf of themselves and the State of New Jersey.

          434.    This Court is requested to accept supplemental jurisdiction of this related state

  claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

  separate damage to the State of New Jersey in the operation of its Medicaid program.

                                      COUNT TWENTY-FIVE
                      Violations of the New Mexico Medicaid False Claims Act,
                                   N.M. Stat ANN. §27-14-1 et seq.

          435.    Plaintiff incorporates by reference and re-alleges all of the foregoing paragraphs

  as if fully set forth herein.

          436.    This Count is brought by Relator I and Relator II in the name of the State of

  New Mexico under the qui tam provisions of the New Mexico Medicaid False Claims Act §27-

  14-1 et seq.

          437.    Defendants at all times relevant to this action sold and marketed, and continue

 to sell and market, their respective CIEDs in the State of New Mexico.



                                                   75
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 77
                                                             Page
                                                               of 104
                                                                   78 of
                                                                      PageID:
                                                                         105 77




         438.    Through the acts described above and otherwise, Defendants knowingly caused

  to be presented for payment and approval to the New Mexico Medicaid and/or Medicare

  programs, and continue to cause to be presented, false and fraudulent claims directly or

 _indirectly, to officers, employees or agents of the State of New Mexico, in order to induce

  Medicaid and/or Medicare reimbursement for claims for the technical component of cardiac

  device interrogations that were not eligible for any such reimbursement, as well as the

  implantation of their particular cardiac devices.

         439.    Through the acts described above and otherwise, Defendants knowingly caused

  to be made or used, and continue to cause to be made or used, false and fraudulent records

  and/or statements, in order to get claims allowed or paid by Medicaid and Medicare that were

  not eligible for any such reimbursement.

         440.    Specifically, Defendants each have:

         •       caused thousands of false claims to be presented to the State of New Mexico,

         •       knowingly made, used or caused to be made or used false records to get false

  claims paid,               , ., ,

                 conspired to defraud the state by getting false and fraudulent claims allowed or

  paid;; and,

                 failed to disclose the existence of the false claims it has caused to be presented.

         441.    The amounts of the false or fraudulent claims caused to be made to the State of

  New Mexico were material.

         442.    Plaintiff State of New Mexico, unaware of the falsity of the claims presented or

  caused to be presented by Defendants, and in reliance on the accuracy thereof, have paid and




                                                  76
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 78
                                                             Page
                                                               of 104
                                                                   79 of
                                                                      PageID:
                                                                         105 78




  approved, and continue to pay and approve, claims for that would not have been paid or

  approved in any part if the truth were known.

           443.    By reason of Defendants' wrongful conduct, New Mexico has suffered

  substantial losses in an amount to be proved at trial, and therefore is entitled to multiple

  damages under the False Claims Act, to be determined at trial, plus the maximum civil penalty

  allowed under the state law for each such false claim caused to be submitted by each

  Defendant and each such false statement caused to be made or used by each Defendant.

                                        COUNT TWENTY-SIX
                      Violations of the New Mexico Fraud Against Taxpayers Act
                                        N.M. Stat.§ 44-9-1 et seq.

           444.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

 . if fully set forth herein.

           445.    This is a qui tam action brought by Relator I and Relator II on behalf of the

  State of New Mexico to recover treble damages, civil penalties and the cost of the civil action

  under the New Mexico Fraud Against Taxpayers Act, N.M. Stat. Ann. § 44-9-1.

           446.    N.M. Stat. Ann. § 44-9-3 (A) of the New Mexico Fraud Against Taxpayers Act

  provides that [a] person shall not:

                   (1)      knowingly present, or cause to be presented, to an employee, officer or
                            agent of the state or to a contractor, grantee or this recipient of state
                            funds a false or fraudulent claim for payment or approval;
                   (2)      knowingly make or use, or cause to be made or used, a false record or
                            statement to obtain approval or payment on a false or fraudulent claim;
                   (3)      conspire to defraud the state by obtaining approval or payment on a false
                            claim;

                   ***
                   (9)      as a beneficiary of an inadvertent submission of a false claim and having
                            subsequently discovered the falsity of the claim, fail to disclose the false
                            claim to the state agency within a reasonable time after discovery.




                                                     77
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 79
                                                             Page
                                                               of 104
                                                                   80 of
                                                                      PageID:
                                                                         105 79




         447.    Pursuant to N.M. Stat. Ann. § 44-9-3(B) of the New Mexico Fraud Against

  Taxpayers Act, proof of specific intent is not required for a violation of subsection A of Section

  J

         448.    Defendants at all times relevant to this action, sold and continues to sell their

  respective CIEDs in the State of New Mexico.

         449.    By virtue of the illegal conduct and the other misconduct alleged herein,

  including causing the submissions of non-reimbursable claims for the global fee for cardiac

  device interrogations, as well as for cardiac devices implanted as a result of illegal kickbacks,

  Defendants violated N.M. Stat. Ann.§ 44-9-3(A) of the New Mexico Fraud Against Taxpayers

  Act with the requisite intent.

         450.    Specifically, Defendants each have:

                 caused thousands of false claims to be presented to the State of New Mexico,

                 knowingly made, used or caused to be made or used false records to get false

  claims paid,

         •       conspired to defraud the state by getting false and. fraudulent claims allowed or

  paid; and,

         •       failed to disclose the existence of the false claims it has caused to be presented.

         451.    For example, claims for reimbursement of the global fee for cardiac device

  interrogations would not have been presented to the State of New Mexico but for the illegal

  encouragement and concealment by Defendants.

         452.    The New Mexico Medicaid Program, unaware of the falsity or fraudulent nature

  of the claims caused by Defendants, paid for claims that otherwise would not have been

 allowed.



                                                  78
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 80
                                                             Page
                                                               of 104
                                                                   81 of
                                                                      PageID:
                                                                         105 80




          453.     By reason of these improper payments, the New Mexico Medicaid Program has

  been damaged, and continues to be damaged, in a substantial amount.

          454.     Defendants did not, vvithin a reasonable period of time after first obtaining

  information as to such violations, furnish such information to officials of the State responsible

  for investigating false claims violations, did not otherwise fully cooperate with any

  investigation of the violations, and have not otherwise furnished information to the State

  regarding the claims for reimbursement at issue.

          455.     Relators are each private persons with direct and independent knowledge of the

  allegations in this Complaint, who have brought this action pursuant to N.M. Stat. Ann. § 44-9-

  5 of the New Mexico Fraud Against Taxpayers Act on behalf of herself and the State of New

  Mexico.

          456.    This Court is requested to accept supplemental jurisdiction of this related state

  claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

  separate damage to the State of New Mexico in the operation of its Medicaid program.

                                       COUNT TWENTY-SEVEN
                               Violations of the New York False Claims Act
                                      State Finance Law, §187 et seq.

          457.    Relators incorporate by reference and re-allege all of the foregoing paragraphs as

  if fully set forth herein.

          458.    This Count is brought by Relator I and Relator II in the name of the State of New

  York under the qui tam provisions of the New York False Claims Act, N.Y. St. Fin. § 187 et seq.

          459.    Defendants at all times relevant to this action sold and marketed, and continue

  to sell and market, their respective CIEDs in the State of New York.




                                                   79
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 81
                                                             Page
                                                               of 104
                                                                   82 of
                                                                      PageID:
                                                                         105 81




         460.    The New York False Claims Act, State Fin. Law § 189 specifically provides, in

 part, that a person commits an unlawful act if the person:

         (a)     knowingly presents, or causes to be presented, w any empioyee, officer or agent
                 of the state or a local government, a false or fraudulent claim for payment or
                 approval~

         (b)     knowingly makes, uses, or causes to be made or used, a false record or
                 statement to get a false or fraudulent claim paid or approved by the state or a
                 local government;
         (c)     conspires to defraud the state or a local government by getting a false or
                 fraudulent claim allowed or paid ....

         461.    Through the acts described above and otherwise, Defendants knowingly caused to

 be presented for payment and approval to the New York Medicaid and/or Medicare programs,

 and continue to cause to be presented, false and fraudulent claims, directly or indirectly, to

 officers, employees or agents of the State of New York, in order to induce Medicaid and or

 Medicare to reimburse Medicaid or Medicare participating providers the global fee for cardiac

 device interrogations, as well as the implantation of certain cardiac devices that were done, as a

 result of, illegal kickbacks.

         462.    Through   t~e   acts. described above and otherwise, Defendants knowingly caused

 to be made or used, and continue to cause to be used or made, false and fraudulent records

 and/or statements, in order to get claims paid by Medicaid and/or Medicare that were not

 eligible for any such reimbursement.

         463.    Specifically, Defendants have:

         •       caused thousands of false claims to be presented to the State of New York,

                 knowingly made, used or caused to be made or used false records to get false

 claims paid,

                 conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

                                                   80
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 82
                                                             Page
                                                               of 104
                                                                   83 of
                                                                      PageID:
                                                                         105 82




                 failed to disclose the existence of the false claims it has caused to be presented.

         464.    The amounts of the false or fraudulent claims to the State of New York were

 material.

       _ 465.    Plaintiff State of New York, unaware of the falsity of the claims caused to be

 presented by Defendants, and in reliance on the accuracy thereof, have paid and approved, and

 continue to pay and approve, claims that would not have been paid or approved in any part if

 the truth were known.

         466.    By reason of Defendants' wrongful conduct, New York has suffered substantial

 financial losses in an amount to be proved at trial, and therefore is entitled to multiple damages

 under the False Claims Act, to be determined at trial, plus the maximum allowable civil

 penalties for each such false statement caused to made or used by each Defendant and each

 such false claim caused to be made by each Defendant.

                                   COUNT TWENTY-EIGHT
                                 North Carolina False Claims Act             i
                                  N.C. Gen. Stat. §§1-605 et seq.

        467.    Relators restate and incorporate each and every allegation above as if the same

 were fully set forth herein.

        468.    This is a claim for treble damages and penalties under the North Carolina False

 Claims Act.

        469.    By virtue of the acts described above, Defendants knowingly presented or

 caused to be presented, false or fraudulent claims to the North Carolina State Government for

 payment or approval.

        470.    By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce

 the North Carolina State Government to approve and pay such false and fraudulent claims.

                                                  81
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 83
                                                             Page
                                                               of 104
                                                                   84 of
                                                                      PageID:
                                                                         105 83




          4 71.   By virtue of the acts described above, Defendants conspired with each other and

  with others to defraud North Carolina by inducing the North Carolina State Government to pay

  or approve false or frauduient claims.

          4 72.   The North Carolina State Government, unaware of the falsity of the records,

  statements and claims made, used, presented or caused to be made, used or presented by

  Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

  illegal inducements and/or business practices.

          473.    By reason of the Defendants' acts, the State of North Carolina has been

  damaged, and continues to be damaged, in substantial amount to be determined at trial.

          474.    The State of North Carolina is entitled to the maximum penalty of $11,000 for

  each and every false or fraudulent claim, record or statement made, used, presented or caused

  to be made, used or presented by Defendants.

                                      COUNT TWENTY-NINE
                      Violations of the Oklahoma Medicaid False Claims Act,
                                    63 Okla. Stat. § 5053, et seq.

          475.    Relators incorporate by reference and re-allege all of the foregoing paragraphs

  as if fully set forth herein.

          476.    This is a qui tam action brought by brought by Relator I and Relator II and the

  State of Oklahoma to recover treble damages, civil penalties and the cost of this action, under

  the Oklahoma Medicaid False Claims Act, 63 Okla. Stat. § 5053, et. seq.

          477.    Defendants have engaged in a continuous practice of causing to be submitted

  reimbursement requests for the global fee for cardiac device interrogations, as well as

  submissions for claims for implantation of their respective devices due to illegal kickbacks,

  with the result that it has: (a) knowingly presented and caused to be presented, to an officer and

 employee of the State of Oklahoma, false and fraudulent claims for payment and approval; and

                                                   82
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 84
                                                             Page
                                                               of 104
                                                                   85 of
                                                                      PageID:
                                                                         105 84




  (b) has knowingly made, used, and caused to be made and used, false records and statements to

  get false and fraudulent claims paid and approved by the State of Oklahoma.

         478.    The Oklahoma Medicaid False Claims Act, 6.3 Okla. Stat. § 5053.1 (8),

  specifically provides in part:

         (8) Any person who:
         (I)     knowingly presenting or causes to be presented, to an officer or employee of the
                 State of Oklahoma, a false or fraudulent claim for payment or approval;
         (2)     knowingly makes, uses, or causes to be made or used, a false record or
                 statement to get a false claim paid or approved by the state; and,
         (3)     conspires to defraud the state by getting a false claim allowed or paid by the
                 governmental entity; ...
         Is liable to the State of Oklahoma for a civil penalty of not Jess than $ 5,000.00 and not
         more than $10,000.00, ... plus three times the amount of damages which the state
         sustains because of the act of that person.

         4 79.   Defendants knowingly and intentionally caused to be made false statements and

  misrepresentations of material facts on applications for payment under the Oklahoma Medicaid

 program, claims which failed to disclose the material violations of the Oklahoma Medicaid

  False Claims Act.

         480.    Specifically, Defendants each have:

         •       caused thousands of false claims to be presented to the State of Oklahoma,

                 knowingly made, used or caused to be made or used false records to get false

 claims paid,

                 conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

         •       failed to disclose the existence of the false claims it has caused to be presented.




                                                  83
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 85
                                                             Page
                                                               of 104
                                                                   86 of
                                                                      PageID:
                                                                         105 85




         481.   For example, claims for the global fee for cardiac device interrogations where

  Defendants' technicians conducted the cardiac device interrogation in whole or in part, were

  improper in whole pursuant to the State of Oklahoma State False Medicaid Claims Act.

         482.   By virtue of the acts described above, Defendants knowingly made, used, or

  caused to be made or used, false records and statements, and omitted material facts, to induce

  the government to approve and pay such false and fraudulent claims.

         483.   Each submission for reimbursement for the technical component of cardiac

 device interrogations performed by Defendants submitted as a result of Defendant' illegal

 practices represents a false or fraudulent record or statement. Each claim for reimbursement

 submitted to a State-funded health insurance program for medical devices implanted as a result

 of Defendant's illegal kickbacks represents a false or fraudulent claim for payment.

         484.   Relators cannot at this time identify all of the false claims for payment that were

 caused by Defendants' conduct. The false claims were presented by thousands of separate

 entities, and over many years.

         485.   The Oklahoma State Government, unaware of the falsity of the records,

 statements, and claims made, or caused to be made by Defendants, paid and continues to pay

 the claims that would not be paid but for illegal conduct.

         486.   By reason of Defendants' acts, the Oklahoma State Government has been

 damaged, and continues to be damaged, in substantial amounts to be determined at trial.

         487.   Oklahoma is entitled to the maximum penalty for each and every false or

 fraudulent claim, record, or statement made, used, presented, or caused to be made, used, or

 presented by Defendants.




                                                84
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 86
                                                             Page
                                                               of 104
                                                                   87 of
                                                                      PageID:
                                                                         105 86




          488.     Defendants did not, within a reasonable period of time after first obtaining

  information as to such violations, furnish such information to officials of the State responsible

  for investigating false claims violatio'.1s, did not otherwise fully coopei<.lte with any

  investigation of the violations, and have not otherwise furnished information to the State

  regarding the claims for reimbursement at issue.

          489.     Relators are private persons with direct and independent knowledge of the

  allegations in this Complaint, who have brought this action pursuant to Oklahoma False

  Medicaid Claims Act on behalf of herself and the State of Oklahoma.

          490.     This Court is requested to accept supplemental jurisdiction of this related state

  claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

  separate damage to the State of Oklahoma in the operation of its Medicaid program.

                                           COUNT THIRTY
                           Violations of the Rhode Island False Claims Act,
                                   R.I. Gen. Laws § 9-1.1-1, et seq.

          491.     Relators incorporate by reference and re-allege all of the foregoing paragraphs

  as if fully set forth herei.n.

          492.     This is a qui tam action brought by brought by Relator I and Relator II and the

  State of Rhode Island to recover treble damages, civil penalties and the cost of this action,

  under the Rhode Island False Claims Act, R.I. Gen. Laws § 9-1. I-1, et. seq.

          493.     Defendants have engaged in a continuous practice of causing to be submitted

  reimbursement requests for the global fee for cardiac device interrogations, as well as

  submissions for claims for implantation of their respective devices due to illegal kickbacks, with

  the result that it has: (a) knowingly presented and caused to be presented, to an officer and

  employee of the State of Rhode Island, false and fraudulent claims for payment and approval;



                                                   85
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 87
                                                             Page
                                                               of 104
                                                                   88 of
                                                                      PageID:
                                                                         105 87




 and (b) has knowingly made, used, and caused to be made and used, false records and

 statements to get false and fraudulent claims paid and approved by the State of Rhode Island .

        ..:94_   The Rhode Island False Claims.Act, R.I. Gen. Laws § 9-1.1-3(a), specifically

 provides in part:

        (a) Any person who:
        (I)      Knowingly presents, or causes to be presented, to an officer or employee of the
                 state or a member of the guard a false or fraudulent claim for payment or
                 approval;
        (2)      Knowingly makes, uses, or causes to be made or used, a false record or
                 statement to get a false or fraudulent claim paid or approved by the state;
        (3)      Conspires to defraud the state by getting a false or fraudulent claim allowed or
                 paid; ... is liable to the state for a civil penalty of not less than five thousand
                 dollars ($5,000) and not more than ten thousand dollars ($10,000), plus three (3)
                 times the amount of damages which the state sustains because of the act of that
                 person. A person violating this subsection (a) shall also be liable to the state for
                 the costs of a civil action brought to recover any such penalty or damages.
        495.     Defendants knowingly and intentionally caused to be made false statements and

 misrepresentations of material facts on applications for payment under the Rhode Island

 Medicaid program, claims which failed to disclose the material violations of the Rhode Island

 False Claims Act.

        496.     Defendants knowingly and intentionally caused to be made false statements and

 misrepresentations of material facts on applications for payment under the Rhode Island

 Medicaid program, claims which failed to disclose the material violations of the Rhode Island

 False Claims Act.

        497.     Specifically, Defendants each have:

        •        caused thousands of false claims to be presented to the State of Rhode Island,

                 knowingly made, used or caused to be made or used false records to get false

 claims paid,



                                                  86
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 88
                                                             Page
                                                               of 104
                                                                   89 of
                                                                      PageID:
                                                                         105 88




               conspired to defraud the state by getting false and fraudulent claims allowed or

 paid; and,

               .failed to disclose the existence of the false claims it has caused to be   pre~·.c:nted.


        498.   For example, claims for reimbursement for the global fee for cardiac device

 interrogations were inappropriate and would not have been presented but for the Defendants'

 encouragement and concealment that this service, as provided by Defendants, and were improper

 under the State of Rhode Island False Claims Act.

        499.   By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used, false records and statements, and omitted material facts, to induce

 the government to approve and pay such false and fraudulent claims.

        500.   Each submission for reimbursement for the global fee for cardiac device

 interrogations performed by Defendants submitted as a result of Defendant' illegal practices

 represents a false or fraudulent record or statement. Each claim for reimbursement submitted

 to a State-funded health insurance program for medical devices implanted as a result of

 Defendant's illegal kickbacks represents a false or fraudulent claim for payment.

        501.   Relators cannot at this time identify all of the false claims for payment that were

 caused by Defendants' conduct. The false claims were presented by thousands of separate

 entities, and over many years.

        502.   The Rhode Island State Government, unaware of the falsity of the records,

 statements, and claims made, or caused to be made by Defendants, paid and continues to pay

 the claims that would not be paid but for Defendant's improper conduct.

        503.   By reason of Defendants' acts, the Rhode Island State Government has been

 damaged, and continues to be damaged, in substantial amounts to be determined at trial.



                                                 87
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 89
                                                             Page
                                                               of 104
                                                                   90 of
                                                                      PageID:
                                                                         105 89




          504.    Rhode Island is entitled to the maximum penalty for each and every false or

  fraudulent claim, record, or statement made, used, presented, or caused to be made, used, or

 . presented by.Defondants.

          505.    DefeAdants did not, within a reasonable period of time after first obtaining

  information as to such violations, furnish such information to officials of the State responsible

  for investigating false claims violations, did not otherwise fully cooperate with any

  investigation of the violations, and have not otherwise furnished information to the State

  regarding the claims for reimbursement at issue.

          506.    Relators are private persons with direct and independent knowledge of the

  allegations in this Complaint, who have brought this action pursuant to the Rhode Island False

  Claims Act on behalf of themselves and the State of Rhode Island.

          507.    This Court is requested to accept supplemental jurisdiction of this related state

  claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

  separate damage to the State of Rhode Island in the operation of its Medicaid program.

                                       COUNT THIRTY-ONE
                       Violations of the Tennessee Medicaid False Claims Act
                                    Tenn. Stat. §§75-1-181 et seq.

          508.    Re Jato rs incorporate by reference and re-allege all of the foregoing paragraphs

  as if fully set forth herein.

          509.    This Count is brought by Relator I and Relator II in the name of the State of

  Tennessee under the qui tam provisions of the Tennessee Medicaid False Claims Act, Tenn.

  Stat. §§75-1-181 et seq.

          510.    Defendants, at all times relevant in this action, have engaged in a continuous

  practice of causing to be submitted reimbursement requests for the global fee for their



                                                   88
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 90
                                                             Page
                                                               of 104
                                                                   91 of
                                                                      PageID:
                                                                         105 90




  respective cardiac device interrogations, as well as submissions for claims for implantation of

  their respective devices due to illegal kickbacks, in the State of Tennessee.

         511.    By virtue of the above-described acts; among ot!iers, Defendants knowi.igly

 caused to be presented false or fraudulent claims for payment or approval, and continue to

 cause to be submitted false or fraudulent claims for payment or approval, directly or indirectly,

 to officers, employees or agents of the State of Tennessee.

         512.    By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continue to

 cause to be submitted false or fraudulent claims for payment or approval, directly or indirectly,

 to officers, employees or agents of the State of Tennessee.

         513.    Specifically, Defendants each have:

                 caused thousands of false claims to be presented to the State of Tennessee,

                 knowingly made, used or caused to be made or used false records to get false

             claims paid,

                 conspired to defraud the state by getting false and fraudulent claims allowed or

             paid; and,

             •   failed to disclose the existence of the false claims it has caused to be presented.

         514.    The amounts of the false or fraudulent claims to the State of Tennessee were

 material.

         515.    Plaintiff State of Tennessee, being unaware of the falsity of the claims and/or

 statements caused to be made by the Defendants, and in reliance on the accuracy thereof paid

 and may continue to pay for claims that would not have been submitted but for Defendant's

 improper conduct.



                                                  89
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 91
                                                             Page
                                                               of 104
                                                                   92 of
                                                                      PageID:
                                                                         105 91




                                        COUNT THIRTY-TWO
                              Violations of the Tennessee False Claims Act
                                   Tenn. Code Ann.§ 4-18-101 et seq.

         516.      ReJators   incorpora~;:   by reference and re-allege all ofthe foreg0ing paragraphs

 as if fully set forth herein.

         517.      This is a qui tam action brought by Relators on behalf of the State of Tennessee

 to recover treble damages, civil penalties and the cost of the civil action under the qui tam

 provisions of the Tennessee False Claims Act, Tenn. Code Ann. § 4-18-101 et seq.

         518.      Tenn. Code Ann. §4-18-103, titled "Liability for violations," provides:

         (a)       Any person who commits any of the following acts shall be liable to the state or
                   to the political subdivision for three (3) times the amount of damages which the
                   state or the political subdivision sustains because of the act of that person. A
                   person who commits any of the following acts shall also be liable to the state or
                   to the political subdivision for the costs of a civil action brought to recover any
                   of those penalties or damages, and shall be liable to the state or political
                   subdivision for a civil penalty of not less than two thousand five hundred dollars
                   ($ 2,500) and not more than ten thousand dollars($ l 0,000) for each false claim:
                   (1)     Knowingly presents or causes to be presented to an officer or employee
                   of the state or of any political subdivision thereof, a false claim for payment or
                   approval;
                   (2)    Knowingly makes, uses, or causes to be made or used a false record or
                   statement to get a false claim paid or approved by the state or by any political
                   subdivision;
                   (3) Conspires to defraud the state or any political subdivision by getting a false
                   claim allowed or paid by the state or by any political subdivision;
                   ***
                   (7) Knowingly makes, uses, or causes to be made or used a false record or
                   statement to conceal, avoid, or decrease an obligation to pay or transmit money
                   or property to the state or to any political subdivision;

         519.      Specifically, Defendants each have:

                   caused thousands of false claims to be presented to the State of Tennessee,

                   knowingly made, used or caused to be made or used false records to get false

               claims paid,


                                                       90
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 92
                                                             Page
                                                               of 104
                                                                   93 of
                                                                      PageID:
                                                                         105 92




             •   conspired to defraud the state by getting false and fraudulent claims allowed or

             paid; and,

                 f<,~ led   to dise lose the existence of the false c!l:l;ms it has caused to be presented.

         520.    The State of Tennessee, by and through Tennessee-funded health plans, and

 unaware of Defendants' illegal practices, paid the claims submitted by health care providers

 and third party payors in connection therewith.

         521.    Had the State of Tennessee known that Defendants violated the federal and state

  laws cited herein, it would not have paid the claims submitted by health care providers in

 connection with Defendants' fraudulent and illegal practices.

         522.    As a result of Defendant's violations of Tenn. Code Ann. §§4-18-103, the State

 of Tennessee has been damaged in an amount far in excess of millions of dollars exclusive on

 interest.

         523.    Relators are private persons each with direct and independent knowledge of the

 allegations in this Complaint, who has brought this action pursuant to Tenn. Code Ann. §§4-

 18-103 on behalf of themselves and the State of Tennessee.

         524.    This Court is requested to accept pendant jurisdiction of this related state claim

 as it is predicated upon the exact same facts as the federal claim, and merely asserts separate

 damage to the State of Tennessee in the operation of its Medicaid program.

                                     COUNT THIRTY-THREE
                      Violations of the Texas Medicaid Fraud Prevention Act
                        Tx. Human Resources Code, Ch. 36, §36.101 et seq.

         525.    Relators incorporate by reference and re-allege all of the foregoing paragraphs

 as if fully set forth herein.




                                                       91
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 93
                                                             Page
                                                               of 104
                                                                   94 of
                                                                      PageID:
                                                                         105 93




        526.     This Count is brought by Relator I and Relator II in the name of the State of

 Texas under the qui tam provisions of the Texas Medicaid Fraud Prevention Act, Tx. Human

 Resources Code, Ch. 36, §36; lOl: et seq.·. ·

        527.     Defendants at all times relevant.to this action sold and marketed, and continue to

 sell and market, their respective CIEDs in the State of Texas.

        528.     Specifically, Defendants have caused thousands of false claims to be presented

 to the State of Texas and:

             •   knowingly made, used or caused to be made or used false records to get false

             claims paid, ·

                 conspired to defraud the state by getting false and fraudulent claims allowed or

             paid; and,

                 failed to disclose the existence of the false claims it has caused to be presented.

        529.     By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continue to

 cause to be submitted false or fraudulent claims for payment or approval, directly or indirectly,

 to officers, employees or agents of the State of Texas.

        530.     The amounts of the false or fraudulent claims to the State of Texas were

 material.

        531.     Plaintiff State of Texas, being unaware of the falsity of the claims and/or

 statements caused to be made by the Defendants, and in reliance on the accuracy thereof paid

 and may continue to pay for claims that would not have been submitted but for Defendant's

 improper conduct.




                                                  92
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 94
                                                             Page
                                                               of 104
                                                                   95 of
                                                                      PageID:
                                                                         105 94




                                     COUNT THIRTY-FOUR
                     Violations of the Virginia Fraud Against Taxpayers Act
                        Va. Stat. Ch. 842, Article 19.1, § 8.01-216.1 et seq.

    . .·. 532, , Relator.s iricorporate by reference and re-aliege all of the fore5,1ing parag:-aphs

 as if fully set forth herein.

         533.     This Count is brought by Relator I and Relator II in the name of the

 Commonwealth of Virginia under the qui tam prov is ions of the Virginia Fraud Against

 Taxpayers Act, Va. Stat. Ch. 842, Article 19.1, § 8.01-216.1 et seq.

         534.     Defendants at all times relevant to this action sold and marketed, and continue

 to sell and market, their respective CIEDs in the Commonwealth of Virginia.

         535.     By virtue of the above-described acts, among others, Defendants knowingly

 caused to be presented false or fraudulent claims for payment or approval, and continues to

 cause to be submitted false or fraudulent claims for payment or approval, directly or indirectly,

 to officers, employees or agents of the Commonwealth of Virginia.

         536.     Specifically, Defendants each have:

                  caused thousands of false claims to be presented to the Commonwealth of

            Virginia,

                  knowingly made, used or caused to be made or used false records to get false

            claims paid,

                  conspired to defraud the state by getting false and fraudulent claims allowed or

            paid; and,

                  failed to disclose the existence of the false claims it has caused to be presented.

         537.     The amounts of the false or fraudulent claims to the Commonwealth of Virginia

 were material.



                                                   93
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 95
                                                             Page
                                                               of 104
                                                                   96 of
                                                                      PageID:
                                                                         105 95




         538.    Plaintiff Commonwealth of Virginia, being unaware of the falsity of the claims

 caused to be submitted by the Defendants, and in reliance on the accuracy thereof paid and

 continues to pay for claims that would not have been   submii-~ed   but for, Defendant's improper

 conduct.

                                   COUNT THIRTY-FIVE
                          Washington Medicaid Fraud False Claims Act
                               West's RCWA 43.131.0001 et seq.

         539.   Relators restate and incorporate each and every allegation above as if the same

 were fully set forth herein.

         540.   This is a claim for treble damages and penalties under the Washington Medicaid

 False Claims Act.

         541.   By virtue of the acts described above, Defendants knowingly presented or caused

 to be presented, false or fraudulent claims to the Washington State Government for payment or

 approval.

         542.   By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce the

 Washington State Government to approve and pay such false and fraudulent claims.

        543.    The Washington State Government, unaware of the falsity of the records,

 statements and claims made, used, presented or caused to be made, used or presented by

 Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

 illegal inducements and/or business practices.

        544.    By reason of the Defendants' acts, the State of Washington has been damaged,

 and continues to be damaged, in substantial amount to be determined at trial.




                                                  94
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 96
                                                             Page
                                                               of 104
                                                                   97 of
                                                                      PageID:
                                                                         105 96




          545.     The State of Washington is entitled to the maximum penalty of $11,000 for each

  and every false or fraudulent claim, record or statement made, used, presented or caused to be

  made, used or presented by Defendants.

                                       COUNT THIRTY-SIX
                 Violations of the Wisconsin False Claims for Medical Assistance Act
                                    WIS. STAT. § 20.931, et seq.

          546.     Relators incorporate by reference and re-allege all of the foregoing paragraphs as

  if fully set forth herein.

          547.     This is a qui tam action brought by brought by Relator I and Relator II and the

  State of Wisconsin to recover treble damages, civil penalties and the cost of this action, under the

  Wisconsin False Claims for Medical Assistance Act, WIS. STAT. § 20.931, et. seq.

          548.     Defendant have engaged in a continuous practice of causing to be submitted

  reimbursement requests for the global fee for their respective cardiac device interrogations, as

  well as submissions for claims for implantation of their respective devices due to illegal

  kickbacks, in the State of Wisconsin.

          549.     Defendants have (a) knowingly presented and caused to be presented, to an

  officer and employee of the State of Wisconsin, false and fraudulent claims for payment and

  approval; and (b) has knowingly made, used, and caused to be made and used, false records and

  statements to get false and fraudulent claims paid and approved by the State of Wisconsin.

          550.     The Wisconsin False Claims for Medical Assistance Act, WIS. STAT. §

  20.931 (2), specifically provides in part:

    (2) Except as provided in sub. (3), any person who does any of the following is liable to this
    state for 3 times the amount of the damages sustained by this state because of the actions of
    the person, and shall forfeit not less than 5,000 nor more than 10,000 for each violation:
          (a)      Knowingly presents or causes to be presented to any officer, employee, or agent
                   of this state a false claim for medical assistance.



                                                   95
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 97
                                                             Page
                                                               of 104
                                                                   98 of
                                                                      PageID:
                                                                         105 97




         (b)       Knowingly makes, uses, or causes to be made or used a false record or statement
                   to obtain approval or payment of a false claim for medical assistance.
         (c)       Conspires to defraud this state by obtaining allowance or payment of a false claim
                   for medical assistance, or by knowingly making or using, or causing to be made
                   or used, a false record or statement to conceal, avoid, or decrease an obligation to
                   pay or transmit money or property to the Medical Assistance program.

         551.      Defendant knowingly and intentionally caused to be made false statements and

 misrepresentations of material facts on applications for payment under the Wisconsin Medicaid

 program, claims which failed to disclose the material violations of the Wisconsin False Claims

 for Medical Assistance Act.

        552.       Specifically, Defendants each have:

                   caused thousands of false claims to be presented to the State of Wisconsin,

                   knowingly made, used or caused to be made or used false records to get false

               claims paid,

                   conspired to defraud the state by getting false and fraudulent claims allowed or

               paid; and,

                   failed to disclose the existence of the false claims it has caused to be presented.

        553.       As a result of this illegal scheme, these claims were improper in whole pursuant

 to the State of Wisconsin State False Medicaid Claims Act.

        554.       By virtue of the acts described above, Defendants knowingly made, used, or

 caused to be made or used, false records and statements, and omitted material facts, to induce the

 government to approve and pay such false and fraudulent claims.

        555.       Each submission for reimbursement by a doctor for the global fee for a cardiac

 device interrogation where the company representative performed any part of the task, as

 opposed to the doctor, was submitted as a result of Defendants' illegal marketing practices and

 represents a false or fraudulent record or statement.

                                                     96
CaseCase
    1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGSDocument
                           Document1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 98
                                                             Page
                                                               of 104
                                                                   99 of
                                                                      PageID:
                                                                         105 98




        556.    Relators cannot at this time identify all of the false claims for payment that were

 caused by Defendants' conduct. The false claims were presented by thousands of separate

 entities, and over many years.

        557.    The Wisconsin State Government, unaware of the falsity of the records,

 statements, and claims made, or caused to be made by Defendants, paid and continues to pay the

 claims that would not be paid but for Defendants' fraudulent practices.

        558.    By reason of Defendants' acts, the Wisconsin State Government has been

 damaged, and continues to be damaged, in substantial amounts to be determined at trial.

        559.    Wisconsin is entitled to the maximum penalty for each and every false or

 fraudulent claim, record, or statement made, used, presented, or caused to be made, used, or

 presented by each Defendant.

        560.    Defendants did not, within a reasonable period of time after first obtaining

 information as to such violations, furnish such information to officials of the State responsible

 for investigating false claims violations, did not otherwise fully cooperate with any investigation

 of the violations, and have not otherwise furnished information to the State regarding the claims

 for reimbursement at issue.

        561.    Relators are private persons each with direct and independent knowledge of the

 allegations in this Complaint, who have brought this action pursuant to the Wisconsin False

 Claims for Medical Assistance Act on behalf of themselves and the State of Wisconsin.

        562.    This Court is requested to accept supplemental jurisdiction of this related state

 claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

 separate damage to the State of Wisconsin in the operation of its Medicaid program.




                                                  97
CaseCase
     1:14-cv-08096-RBK-JS
         5:15-cv-06264-EGS Document
                            Document1 64-16
                                       Filed 12/29/14
                                             Filed 11/17/17
                                                       Page 99
                                                            Page
                                                               of 104
                                                                  100 PageID:
                                                                      of 105 99




                                  COUNT THIRTY-SEVEN
                               New York City False Claims Act
                        New York City Administrative Code §7-801-§7-810

         563.    Relators incorpoi(:lte by reference and re-allege all above paragraphs as !f fully set

 forth herein.

         564.    This is a claim for treble damages and penalties against Defendants on behalf of

 the City of New York under the New York City False Claims Act, New York City

 Administrative Code §7-801-§7-810.

         565.    By virtue of the above-described acts, among others, Defendants knowingly and

 willfully caused the submission of false claims by doctors for technical services they rendered on

 their respective CIEDs, as well as for claims for reimbursement for medical devices implanted as

 a result of illegal kickbacks.

         566.    By virtue of the above-described acts, Defendants knowingly made or caused to

 be made false claims for drugs to the New York City Government.

         567.    By virtue of the above-described acts, Defendants knowingly made, used, or

 caused to be made or used false records and statements, and omitted material facts, to induce the

 New York City Government to approve and pay such false and fraudulent claims.

         568.    The New York City Government, unaware of the falsity of the records, statements

 and claims made, used, presented or caused to be made, used or presented by Defendants, paid

 and continues to pay the claims that would not be paid but for Defendants' illegal inducements

 and/or business practices.

         569.    By reason of the Defendants' unlawful acts, the City of New York has been

 damaged, and continues to be damaged, in substantial amount to be determined at trial.




                                                   98
Case 1:14-cv-08096-RBK-JS
     Case 5:15-cv-06264-EGSDocument
                             Document
                                    1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                      Page 100
                                                            Page
                                                               of 104
                                                                  101 PageID:
                                                                      of 105 100




               WHEREFORE, Plaintiff demands judgment against defendants as follows:

          a.      That by reason of the aforementioned violations of the New York City False

  Claims Act p1ovisions that this Court enter judgment in the City ofT'ew York''· favor and

  against Defendants in an amount equal to not less than two times and not more than three times

  the amount of damages that the City of New York has sustained because of Defendants' actions,

  plus a civil penalty of not less than $5,000 and not more than $15,000 for each violation of the

  New York City False Claims Act, New York City Administrative Code §7-801-§7-810;

          b.       That Relator, as Qui Tam Plaintiff, be awarded the maximum amount allowed

  pursuant New York City Administrative Code § 704(i) and/or any other applicable provision of

  law;

          c.       That Relator be awarded all costs and expenses of this action, including attorney's

  fees and court costs incurred in the prosecution of this suit; and

          d.      That Plaintiff City of New York and Relator have such other and further relief

  that this Court deems just and proper.

                                     COUNT THIRTY-EIGHT
                                 City of Chicago False Claims Act
                           Municipal Code of Chicago §1-22-010-§1-22-060

          570.     Relators incorporate by reference and re-allege all above paragraphs as if fully set

  forth herein.

          571.    This is a claim for treble damages and penalties against Defendants on behalf of

  the City of Chicago under the Chicago False Claims Act, Municipal Code of Chicago § 1-22-0 l 0-

  § 1-22-060.

          572.     By virtue of the above-described acts, among others, Defendants knowingly made

  or caused to be made or caused to be made false claims for the global fee for cardiac device

  interrogations, as well as for their respective cardiac devices themselves, to the City of Chicago.

                                                    99
Case 1:14-cv-08096-RBK-JS
     Case 5:15-cv-06264-EGSDocument
                             Document
                                    1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                      Page 101
                                                            Page
                                                               of 104
                                                                  102 PageID:
                                                                      of 105 101




          573.   By virtue of the above-described acts, Defendants knowingly made, used, or

  caused to be made or used false records and statements, and omitted material facts, to induce the

  City of Chicago to approve and pay such false ar,<)fraudulen1. claims,

          574.   The Chicago City Government, unaware of the falsity of the records, statements ·

  and claims made, used, presented or caused to be made, used or presented by Defendants, paid

  and continues to pay the claims that would not be paid but for Defendants' illegal business

  practices.

          575.   By reason of the Defendants' unlawful acts, the City of Chicago has been

  damaged, and continues to be damaged, in substantial amount to be determined at trial.

                                          JURY DEMAND

          576.   Plaintiff demands trial by jury on all claims.

                                      PRAYER FOR RELIEF

          WHEREFORE, Relators, on behalf of themselves, the United States of America and the

  Plaintiff States, demand and pray that judgment be entered as follows against the Defendants

  Boston Scientific, Medtronic, St Jude. and Biotronik, under the Federal FCA Counts and under

  supplemental FCA counts of the Plaintiff States as follows:

          (a)    In favor of the United States against Defendants for treble the amount of

  damages to Government Health Care Programs (Medicaid, Medicare, Medicare Part D, the

  Railroad Retirement Medicare Program, Federal Employees Health Benefit Programs, Tri-Care

  (formerly CHAM PUS), CHAMPY A, State Legal Immigrant Assistance Grants and the Indian

  Health Service) from the illegal marketing, selling, prescribing, pricing and billing alleged

  herein, plus the maximum civil penalties of $11,000 (plus interest) for each false claim caused

  to be submitted, for each false record submitted or caused to be submitted and each false claim



                                                  100
Case 1:14-cv-08096-RBK-JS
     Case 5:15-cv-06264-EGSDocument
                             Document
                                    1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                      Page 102
                                                            Page
                                                               of 104
                                                                  103 PageID:
                                                                      of 105 102




  caused to be submitted by Defendants Boston Scientific, Medtronic, St. Jude Medical and

  Biotronik's conspiracy to submit false claims;

         (b)     In favor of the United .States against the Defendants Boston Scientific,

  Medtronic, St. Jude Medical and Biotronik for disgorgement of the profits earned by each as a

  result of their illegal scheme;

         (c)     In favor of Relator I and Re la tor II for the maximum amount allowed pursuant

  to 31 U.S.C. §3730(d) to include reasonable expenses, attorneys' fees and costs incurred by

  Relators;

         (d)     For all costs of the Federal FCA civil action;

         (e)     In favor of Relator I and Relator II and the United States for such other relief as

  this Court deems just and equitable;

         (f)     In favor of Relator I and Relator II and the named State Plaintiffs against

  Defendants Boston Scientific, Medtronic, St. Jude and Biotronik in an amount equal to three

  times the amount of damages that the named Plaintiff States have sustained as a result of the

  Defendants' actions, as well as the statutory maximum penalty against the Defendants for each

  violation of each State's FCA;

         (g)     In favor of Relator I and Relator II the maximum amount allowed as Relators'

  share pursuant to the Plaintiff State FCAs as follows: the Illinois Whistleblower Reward and

  Protection Act, 740 ILCS 175, et seq., the California False Claims Act, Cal. Gov. Code

  § 12651 (a), the Delaware False Claims and Reporting Act, Del. Stat. Tit. VI. § 1201, et seq., the

  District of Columbia False Claims Act, D.C. Stat. §2 308.03 et seq., the Florida False Claims

  Act, Fl. Stat. §§68.081-68.09, et seq., the Hawaii False Claims Act, Haw. Rev. Stat. §661 21 et

  seq., the Louisiana Medical Assistance Programs Integrity Law, La. Rev. Stat. §439, et seq.,



                                                   101
Case 1:14-cv-08096-RBK-JS
     Case 5:15-cv-06264-EGSDocument
                             Document
                                    1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                      Page 103
                                                            Page
                                                               of 104
                                                                  104 PageID:
                                                                      of 105 103




  Massachusetts False Claims Act, Mass. Gen. Laws c.12 §5(A), et seq., the Michigan Medicaid

  False Claims Act, M.C.L.A. 400.60 I et seq.; Michigan Public Acts, 1977 PA 72, as amended

  by 1984 PA ;.:3, as ameuded by 2005 PA 337, as amended by 2008 PA 421; the Montana

  False Claims Act, 2005 MonLCode, CH. 465, HB 146, et seq., the Nevada False Claims Act,

  Nevada Rev. Stat. §357.010 et seq., the New Hampshire False Claims Act, 167:61-b et seq.,

  the New Mexico False Claims Act, N.M. Stat ANN. §27-14-1 et seq.; New Mexico Fraud

  Against Taxpayers Act, N.M. Stat.§ 44-9-1 et seq.; the New York False Claims Act, State

  Finance Law, § 187 et seq.; the Tennessee Medicaid False Claims Act, Tenn. Stat. §§75 I 181

  et seq.; the Tennessee False Claims Act Tenn. Code Ann. § 4-18-101 et seq.; the Texas

  Medicaid Fraud Prevention Act, Tx. Human Resources Code, Ch. 36, §36. l 01 et seq., Indiana

  False Claims and Whistleblower Act, IC 5-11-5.5 et seq., Georgia State False Medicaid Claims

  Act, Ga. Code 49-4-168 et seq., and the Virginia Fraud Against Taxpayers Act, Va. Stat. Ch.

  842, Article 19.1, §8.01 216.1 et seq.; New Jersey False Claims Act, N.J. STAT.§ 2A:32C-l;

  Oklahoma Medicaid False Claims Act, 63 Okla. Stat. § 5053, et seq.; Wisconsin False Claims

  for Medical Assistance Act, WIS. STAT. § 20.931, et seq.; and the Rhode Island False

  Claims Act, R.I. Gen. Laws § 9-1.1-1, et seq.; plus interest;

         (h)     In favor of Relator I and Re la tor II for all costs and expenses associated with the

  supplemental claims of the Plaintiff States, including attorneys' fees and costs;

         (i)     In favor of the Plaintiff States and Relator I and Relator II for all such other

  relief as the Court deems just and proper; and,

         U)      In the event that the United States or Plaintiff States proceed with this action,

  Relator I and Relator II, be awarded an appropriate amount for disclosing evidence or

  information that the United States and/or the Plaintiff States did not possess when this action



                                                    102
Case 1:14-cv-08096-RBK-JS
     Case 5:15-cv-06264-EGSDocument
                             Document
                                    1 64-16
                                      Filed 12/29/14
                                             Filed 11/17/17
                                                      Page 104
                                                            Page
                                                               of 104
                                                                  105 PageID:
                                                                      of 105 104




  was brought to the government. The appropriate amount is not greater than twenty-five

  percent (25':Yo) of the proceeds of the action or settlement of a claim. The amount awarded to

. Relators i'.J.lso includes the results ofgo;vemment actions or settlement of claims resulting from

  the expansion of claims through the government's further investigation directly generated from

  or attributable to Relators' information; and

         (k)     Such other relief as this Court deems just and appropriate.

  December 29, 2014                               Respectfully Submitted,

                                                           _...,   . -...,,


                                                     0~ .
                                                  /,,;-,                                   7/ ') (' (' ·~ J[;·
                                              <?o;~p~,L.                      essa, Jr.,   £~~~i~e,)((   { , )/ -
                                                  NJ Bar I.D. 032141988
                                                  Thomas N. Sweeney, Esquire
                                                  NJ Bar LD. 027811999
                                                  Claudine Q. Homolash, Esquire
                                                  NJ Bar I.D. 023301999
                                                  MESSA & ASSOCIATES, P.C.
                                                  123 South 22nd Street
                                                  Philadelphia, PA 19103
                                                  Telephone: (215) 568-3500
                                                  Facsimile: (215) 568-3501

                                                  Attorneys for Relators




                                                     103
